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   1   DWIN LEGAL, APC
       Evan Dwin (SBN 241 027)
   2   550 Laguna brive, Suite A
       Carlsbad, CA 92008
   3   Tel: (760) 536-6471
       Fax:(760) 585-4649
   4
       Attmp~ys for Plaintiff
   5   KATHYRN KAILIKOLE
   6

   7                         UNITED STATES DISTRICT COURT
   8                FOR THE SOUTHERN DISTRICT OF CALIFORNIA
   9   KATHRYN KAILIKOLE, an                      Case No. 3:18-cv-02877-AJB-MSB
       individual;
  10                                       DECLARATION OF EVAN DWIN IN
                                Plaintiff,
  11         vs.                           SUPPORT OF PLAINTIFF
                                           KATHRYN KAILIKOLE'S
  12   PALOMAR COMMUNITY CQLLEGE APPLICATION FOR ATTORNEYS'
       DISTRICT, a gover~enta! entrty; and FEES PURSUANT TO THE
  13   DOES 1 through 25, mclusrve;
                                           COURT'S ORDER DATED AUGUST
  14                                       22, 2019 DENYING DEFENDANT'S
                       Defendants.
  15                                       ANTI-SLAPP MOTION
  16

  17                                     DECLARATION
  18 I, Evan Dwin, declare:
  19         1.    I am an attorney at law duly licensed to practice before this Court. I am
  20 the principal ofDwin Legal, APC, counsel for Plaintiff Dr. Kathryn Kailikole. I
  21 make this declaration in support of Plaintiffs Application for Attorneys' Fees
  22 Pursuant to Order Denying Defendant's Motion to Dismiss Pursuant to Cal. Code
  23   Civ. Proc. § 425.16. I know the facts asserted in this declaration to be true of my own
  24   personal knowledge.
  25         2.    I graduated law school in 2005 from the University of California, Los
  26 Angeles School of Law ("UCLA").
  27         3.    After graduation, from 2005 through 2010, I worked for the Chicago
  28 based law firm ofKatten Muchin Rosenman LLP ("Katten") in its Century City

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   1 Office in Los Angeles. Katten is a national law firm which handles complex

   2   litigation and transactions. During the time I worked for Katten, my practice focused
   3   on employment law, including litigating single-plaintiff discrimination cases and
   4 wage and hour class actions, as well as complex litigation in a variety of substantive

   5   areas.
   6            4.   In 2011, I moved to San Diego, California and began working for
   7   Troutman Sanders LLP ("Troutman"). Troutman is international law firm with a
   8 home office in Atlanta, Georgia. During the time I worked for Troutman, my
   9 practice continued to focus on employment law, as well as commercial and other
  10   complex litigation such as patent litigation.
  11            5.   In April of2013, I opened Dwin Legal, APC ("Dwin Legal"), a law firm
  12   based on Carlsbad, California in San Diego County. I am the sole owner ofDwin
  13   Legal and the principal attorney. My practice is primarily focused on employment
  14 law, including litigation, as well as other civil litigation. Since opening Dwin Legal, I
  15   have handled numerous employment matters, including discrimination cases and
  16   wage an hour class actions.
  17            6.   Miguel Mendez-Pintado worked for Dwin Legal as an associate during
  18 the time the District's anti-SLAPP motion was pending. Mr. Mendez-Pintado
  19 graduated in the top 10% of his class from the University of San Diego School of
  20   Law in 2018.
  21            7.   Anti-SLAPP motions are complex motions with an extremely high risk
  22   to the party opposing it. Specifically, if an anti-SLAPP motion is granted, not only is
  23   the plaintiff's case dismissed, but the plaintiff is required to pay the Defendant's
  24   attorney's fees. In this case, the District's anti-SLAPP motion concerned seven
  25   separate causes of action, including two federal claims for retaliation under Title VI
  26 and Title IX, respectively, and five claims brought under California law, including
  27   claims for retaliation for reporting harassment and for disability discrimination. The
  28   District submitted more than 800 pages of purported evidence in support of the anti-

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       1 SLAPP Motion. In its brief, which was prepared by three lawyers fi·om a national

   2     employment law firm, the District cited 3 6 cases and 13 different statutes.
   3            8.    The District's anti-SLAPP motion was further complicated by the fact
   4 that the District removed the case to federal court where the Federal Rules of Civil

   5 Procedure conflict with certain provisions of the anti-SLAPP statute, which is

   6     contained in California's Code of Civil Procedure. These procedural issues,
   7     including the proper standard to apply to the merits, applied to all 7 of Plaintiffs
   8     claims. Plaintiffs attorneys were also forced to spend additional time opposing the
   9 motion when the District submitted further briefing after the matter was taken under

  10     submission by the Court.
  11           9.     In her opposition to the Motion, in addition to addressing the issues that
  12     applied to all of her claims, Plaintiff successfully argued that Motion must be denied
  13     as to her federal claims because an anti-SLAPP motion cannot be brought as to
  14 federal claims. (Doc. 18, 10:18-11 :2). Plaintiff also responded Defendant's
  15     argument that Plaintiffs federal claims in particular should be dismissed because, the
  16 District claimed that a supervisor who reports discrimination and harassment did not

  17 constitute under Title VI and Title IX. (Doc. 14-1, 15:18-18:12).

  18           10.    In total, I spent 44.8 hours researching the opposition, drafting the
  19     opposition, gathering and preparing the evidence submitted in support of the
  20     opposition, preparing for and appearing at the hearing on the anti-SLAPP motion and
  21     responding to the District's supplemental briefing. Mr. Mendez-Pintado spent 29.4
  22 hours researching drafting, revising and preparing Plaintiffs Opposition to the

  23     Motion. Attached hereto as Exhibit 1 is a true and correct copy of time records for
  24 the work performed by me and Mr. Mendez-Pintado on the Opposition, not including
  25    time I spent on the joint motion to extend the briefing schedule, and separately
 26      summarizing the 11.9 hours I spent preparing this application for fees. Exhibit 1 is
 27 based on our contemporaneous time records and is an accurate reflection of the time

 28     spent by me and Mr. Mendez-Pintado in connection with the Opposition. Given the

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   1   complexity of the motion, the number of authorities cited by the District, the volume
   2   of purported evidence submitted, the critical importance of prevailing, the quality of
   3   the briefing and the result achieved, the time spent on the opposition was reasonable.
   4            11.   A court assessing attomeys' fees awarded in connection with an anti-
   s   SLAPP motion "begins with the touchstone or lodestar figure, based on the 'careful
   6   compilation of the time spent and reasonable hourly rate of each attomey ...
   7   involved in the presentation of the case." Ketchum v. Moses, 24 Cal. 4th 1122, 1131-
   8 32 (2001)1131-32 (citing Serrano v. Priest, 20 Cal. 3d 25,48 (1977); see also
   9 Caudle v. Bristow Optical Co., 224 F.3d 1014, 1028 (2000)
  10            12.   The lodestar is "the basic fee for comparable legal services in the
  11 community." Ketchum, supra, 24 Cal. 4th at 1132. Recoverable fees include
  12 compensation for all hours reasonably spent "including those necessary to establish
  13   and defend the fee claim." Serrano, supra, 32 Cal. 3d at 369; Davis v. City and Cty.
  14 ofSan Francisco, 976 F.2d 1536, 1544 (9th Cir. 1992) (citation omitted), opinion
  15 vacated on other grounds by 984 F.2d 345 (9th Cir. 1993).
  16            13.   If the lodestar method is applied, the reasonable rate applied is based on
  17 the "market rate[ s]" prevalent in the community where the court is located. (Syers
  18 Properties III, Inc. v. Rankin (2014) 226 Cal. App. 4th 691, 700-701.) This applies
  19 "regardless of whether the attomeys claiming fees charge nothing for their services,
  20 charge at below-market rates or discounted rates, represent the client on a contingent
  21 fee basis, or are in-house counsel." (Chacon v. Litke (2010) 181 Cal. App. 4th 1234,
  22   1260.)
  23            14.   Plaintiff requests that the Court apply a rate of $550 per hour for the
  24 work I have done in opposition to the District's anti-SLAPP motion and $300 per
  25 hour to Mr. Mendez-Pintado's work on the opposition. These rates are reasonable for
  26 attorneys of with skills, experience and reputations comparable to me and Mr.
  27 Mendez-Pintado. In fact, courts in the South em District of Califomia have
  28 consistently approved rates of between $550 per hour and $730 for attorneys with

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   1   experience of between 10 and 15 years. For example, in August oflast year in San
   2   Diego Comic Convention v. Dan Farr Prods., 2018 U.S. Dist. LEXIS 143802 **39,
   3 this Court found that, the following rates are reasonable for the San Diego market: 1)

   4 between $550 per hour and $685 per hour for a partner with over fourteen years of

   5   experience; 2) between $550 and $730 per hour for an attomey who graduated from
   6 the University of San Diego in 2007 (i.e., approximately eleven years of experience);
   7 3) $545 per hour for an associate attomey who graduated law school in 2014 (i.e.,

   8   approximately 4 years of experience); and 4) between $675 and $765 per hour for
   9   other partner level attomeys. A true and correct copy of the Court's order approving
  10   these market rates in San Diego Comic Convention is attached hereto as Exhibit 2.
  11   (See Ex. 2, p. 24-26.)
  12         15.    Similarly, in Vess v. Bank ofAmerica, NA., 2013 U.S. Dist. LEXIS
  13   157427 **10 (S.D. Cal., October 24, 2013) six years ago, this Court, applying the
  14   lodestar method, approved attomeys' fees requested by the plaintiffs' lawyers which
  15   included a requested rate of $575 per hour for an employment attomey with
  16   approximately eleven years of experience; see also Iorio v. Allianz Life Ins. Co. ofN
  17   Am., 2011 U.S. Dist. LEXIS 50452 *31-32 (S.D. Cal. March 3, 2011) (approving
  18   partner rates as high as $750 per hour in 2011). Attached hereto as Exhibit 3 is a
  19 copy ofthe Court's Order approving the attomeys' fees based on "the lodestar" in

  20   Vess. (See Ex. 3, 6:10.) Attached hereto as Exhibit 4 is a true and correct copy of
  21   the Declaration of Alisa Martin, without exhibits, submitted in support of the
  22   plaintiff's fee motion in Vess. (See Exhibit 3 ~~ 10, 16-17.). A true and correct copy
  23   of the order approving attomeys' fees in Iorio is attached hereto as Exhibit 5. (See
  24   Ex. 5, 16:16-17:4.)
  25         16.    Attached hereto as Exhibit 6 is a true and correct copy of billing survey
  26   listing 2014 rates for law firms across the country. Several of the firms listed in the
  27   survey have offices in San Diego. Even though the survey is five years old, the rates
  28   requested here by Plaintiff are lower than many of the rates for the firms listed in the

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   1   survey with offices in San Diego, are at the lower end of the rates listed in the survey
   2   or are comparable to the rates listed in the survey. Based on the foregoing orders and
   3   survey, the rates requested herein and in the application for me and Mr. Mendez-
   4   Pintado are reasonable.
   5         17.    As set forth above, nearly all ofthe District's arguments in the anti-
   6 SLAPP motion applied to all of Plaintiffs claims, including the critical issue of
   7   whether the claims "arise out of protected activity." Further, nearly all of the facts
   8   stated in Plaintiffs opposition relate to her job performance, her participation in the
   9   investigation of Professors Nakajima and Gerwig, and the retaliatory employment
  10   actions taken by the District. All of these facts are relevant to the District's argument
  11 that all of Plaintiffs claims "arise out of protected activity" under the anti-SLAPP
  12   statute and Plaintiffs argument that her termination was not pretextual, which apply
  13   to all of her claims. Further, the District also made at least one argument as to the
  14 merits of each of Plaintiffs seven causes of action. Thus, it is difficult if not
  15   impossible to parse out which attorney hours related to specifically to Plaintiffs
  16   federal claims as opposed to her claims under California state law.
  17         18.    Because of the difficulty in allocating fees between her claims, Plaintiff
  18   requests in its application that she be awarded attorneys' fees for 28.6% (i.e., 2/7) of
  19 hours of attorney time spent opposing the Motion at the reasonable rate for the San
  20   Diego market. This allocation is reasonable and likely low because there are at least
  21 two sections of the opposition- the section regarding the "manager rule" issue and
  22   the section regarding the inapplicability of the anti-SLAPP statute to federal claims-
  23   which apply only to the federal claims. Further, while the Court did not reach the
  24   merits because Plaintiffs claims do not arise out of"protected activity," Plaintiff had
  25   no choice but to research, brief and present evidence on the merits as to all of her
  26 claims in opposing the anti-SLAPP Motion.
  27         19.    As set forth below in the chart below, the total lodestar for the entire
  28   Opposition is $33,460. By multiplying the total lodestar by .286 (i.e. 217) to account

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   1   for the fee award as to two of seven claims, the lodestar amount for the opposition
   2 with respect to the federal claims is $9,569.56:
   3

   4      Attorney                      Rate          Hours                  Total Fees
   5      Evan Dwin                     $550            44.8                 $24,640
   6      Miguel Mendez-Pintado         $300            29.4                 $8,820
   7                                                                         $33,460
   8         20.     Plaintiff is also seeking an additional $6,545 in attorneys' fees for the
   9   time spent in bringing this fee application (i.e., 11.9 x $550). Thus, the total amount
  10 of attorneys' fees being sought in the application is $16,114.56.
  11         21.     On or about September 5, I spoke with Kevonna Ahmad, counsel for the
  12 District. Like Mr. Mendez-Pintado, Ms. Ahmad graduated from law school in 2018.
  13 In our phone conversation, Ms. Ahmad informed me that her rate is $310 per hour,
  14 which is $10 more than the rate requested for Mr. Mendez-Pintado in this application
  15         I declare, under the penalty of perjury under the laws of the State of California
  16 that the foregoing is true and correct and was executed on September 10,2019 in
  17 Carlsbad, California.
  18

  19                                           EvanDwin
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                          EXHIBIT 1
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                                                                                                                                                                               ·'"'.
                                                                                                                                                                                   Q._



Dwin Legal, APC- User Summary

    Date                                   Matter              Description                                                                                     labor Time/
                                                                                                                                                                 Quantity
Evan Dwin

03/19/2019 Kailikole v. Palomar Community College District     Review Anti-S LAPP motion and research re time limits for Anti-S LAPP motions, procedural          2.30
                                                               requirements in federal court and application to discrimination cases.
03/25/2019 Kailikole v. Palomar Community College District     Research re Anti-S LAPP motions by public entities in response to discrimination complaints.       0.50

03/27/2019 Kailikole v. Palomar Community College District     Review Anti-SLAPP motion and relevant e-mails, contracts and corresponednce in record {.5);        1.30
                                                               begin drafting facts section of opposition to motion {.8).
04/01/2019 Kailikole v. Palomar Community College District     Draft and revise opposition to anti-SLAPP motion.                                                  2.30
04/02/2019 Kailikole v. Palomar Community College District     Continue reviewing record and drafting and revising facts and legal argument in brief re           1.80
                                                               opposition to Anti-SLAPP.
04/04/2019 Kai!ikole v. Palomar Community Co !lege District    Review record and research re temporal proximity and other evidence to establish pretext in        0.90
                                                               discrimination case.
04/05/2019 Kai!ikole v. Palomar Community College District     Draft and revise brief in opposition to anti-SLAPP motion.                                         1.30
04/09/2019 Kailikole v. Palomar Community College District     Continue drafting and revising brief in opposition to anti-SLAPP re arguments re protected         6.40
                                                               activity, summary judgment standard and relevant facts from record.
04/11/2019 Kailikole v. Palomar Community College District     Draft and revise brief in opposition to anti-SLAPP re relevant facts, alleged manager rule in      3.20
                                                               discrimination cases and anti-SLAPP issues.
04/12/2019 Kailikole v. Palomar Community College District     Continue drafting and revising opposition to special motion to strike,                             5.10
04/14/2019 Kailikole v. Palomar Community College District     Draft and revise opposition to special motion to strike.                                           2.30
04/16/2019 Kailikole v. Palomar Community College District     Continue drafting and revising opposition to special motion to strike.                             7.30
  4/17/2019 Kailiko!e v. Palomar Community College District    Review, revise finalize and file opposition to special motion to strike and supporting             4.50
                                                               declarations
7/17/2019    Kailikole v. Palomar Community College District   Prepare for anti-SLAPP hearing.                                                                    1.30
7/18/2019 Kai!ikole v. Palomar Community College District      Hearing preparation and hearing on anti-SLAPP motion.                                              2.50
07/24/2019 Kai!ikole v. Palomar Community Co !lege District    Review new authority submitted by Defendant re anti-SLAPP motion and draft and revise              1.40
                                                               response.
 07/24/2019 Kailikole v. Palomar Community College District    Review new authority submitted by Defendant re anti-SLAPP motion and draft and revise              1.40
                                                               response.
  7/25/2019 Kailikole v. Palomar Community College District    Draft, revise and file response to Defendant's submission of new authority.                        1.80
09/02/2019 Kailikole v. Palomar Community College District     Research re applicable standards for attorneys' motions and rates (1.3); begin drafting            2.70
                                                               application for attorneys fees {1.4).
09/03/2019 Kailikole v. Palomar Community College District     Research re successful attorneys fee motions in Southern District of California and other          3.20
                                                               federal courts (2.3); continue drafting and revising application for attorneys fees (.9).


09/05/2019 Kailikole v. Palomar Community Co !lege District     Research re standard for awarding fees {.4); continue drafting and revising application for        1.50
                                                               fees and supporting declaration (1.1}.
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                                                                                                                                                                            .-:N
                                                                                                                                                                            X      .
                                                                                                                                                                            u.l   "-

09/09/2019 Kailikole v. Palomar Community College Distrkt       Compile evidence ·m support of fee application (1.2); draft and rev'1se fee application and      2.40
                                                                supporting declaration (1.2).
09/10/2019 Kailikole v. Palomar Community College District      Continued drafting and revising fee application and supporting declaration (1.3); compile and    2.10
                                                                prepare exhibits in support of motion {.8).

                                                                Total Labor for Evan Dwin re Opposition                                                             44.80
                                                                Total Labor for Evan Dwin re Attorney Fee Application                                               11.90
Miguel Mendez-Pintado
03/19/2019   Kai!ikole v. Palomar Community Co !lege District   Research cases for Opposition to Districts Anti-S LAPP Motion                                    2.40
03/20/2019   Kailikole v. Palomar Community College District    Review Declaration of Jeff Love for facts and citations to record.                               2.30
03/20/2019   Kailikole v. Palomar Community College District    Research re FRCP 56.                                                                             0.30
03/20/2019   Kailikole v. Palomar Community College District    Draft brief re the use of SLAPP motions for federal causes of action and discovery for SLAPP     2.60
                                                                motions filed in federal court.
03/21/2019   Kailiko!e v. Palomar Community College District    Review Declaration of Jack Kahn for facts and citations to record.                               2.40
03/21/2019   Kailikole v. Palomar Community College District    Review Declaration of Jeff Love for citations for facts and citations to record.                 3.30
03/22/2019   Kailikole v. Palomar Community College District    Review of Declaration of Jeff Love for facts and citations to record.                            0.80
03/22/2019   Kailikole v. Palomar Community College District    Review Declaration of Jack Kahn for facts and citations to record.                               0.20
03/25/2019   Kai!ikole v. Palomar Community College District    Revise brief re federal issues in SLAPP motions.                                                 0.10
04/01/2019   Kai!ikole v. Palomar Community College District    Draft brief re Vergas v. McNeal, Miller v. City of Los Angeles, and San Ramon v. Contra Costa.   1.50

04/01/2019   Kailikole v. Palomar Community College District    Research re FRCP 56.                                                                             0.20
04/02/2019   Kailikole v. Palomar Community College District    Research re Anti-S LAPP motion                                                                   0.20
04/08/2019   Kailikole v. Palomar Community College District    Research re summary judgment issues.                                                              1.40
04/12/2019   Kailikole v. Palomar Community College District    Draft Declaration of Dr. Kailikole and Declaration of Dwin.                                       1.90
04/13/2019   Kailikole v. Palomar Community College District    Draft citations to the record for the Opposition to the anti-SLAPP motion.                       3.40
04/15/2019   Kai!ikole v. Palomar Community College District    Review and revise the declaration of Dr. Kai!ikole in support of opposition.                      1.40
04/16/2019   Kailikole v. Palomar Community College District    Draft citations for the Opposition to the anti-SLAPP motion.                                     3.10
04/16/2019   Kailikole v. Palomar Community College District    Prepare exhibits for declaration of Dr. Kai!ikole in support of the opposition.                   0.80
04/17/2019   Kailikole v. Palomar Community College District    Review and revise Opposition to the anti-SLAPP motion.                                            1.10
                                                                                                                       Total Labor For Miguel Mendez-Pintado     29.40
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                           EXHIBIT 2
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  8                           UNITED STATES DISTRICT COURT
  9                         SOUTHERN DISTRICT OF CALIFORNIA
 10
 11   SAN DIEGO COMIC CONVENTION, a                  Case No.: 14-cv-1865-AJB-JMA
      California non-profit corporation,
 12                                                  ORDER GRANTING IN PART AND
                                        Plaintiff,
 13                                                  DENYING IN PART PLAINTIFF'S
      v.                                             MOTION FOR ATTORNEYS' FEES
 14                                                  AND COSTS PURSUANT TO 15
      DAN FARR PRODUCTIONS, a Utah
 15                                                  U.S.C. § 1117(a)
      limited liability company, DANIEL
 16   FARR, an individual, BRYAN
      BRANDENBURG, an individual,                    (Doc. No. 425)
 17
                                     Defendants.
 18
 19
20          Pursuant to 15 U.S.C. § 1117(a), a court may in "exceptional cases" award
21    reasonable attomeys' fees and costs to the prevailing party in a trademark infringement
22    lawsuit. Plaintiff San Diego Comic Convention ("SDCC") moves this Court to find that
23    the instant case is "exceptional." (Doc. No. 425.) Defendants Dan Fan Productions, Daniel
24    Fatr, and Bryan Brandenburg (collectively refened to as "DFP") oppose SDCC's request.
25    (Doc. No. 512.) On May 31, 2018, the Court held a hearing on the motion and then
26    submitted the matter. (Doc. No. 504.) Finding that this case is in fact "exceptional," the
27    Court awards SDCC reasonable attomeys' fees and costs subject to certain deductions.
28

                                                                                               Ex. 2
                                                                                !4-cv-!865-AJB p. 1
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  1 Accordingly, the Court GRANTS IN PART AND DENIES IN PART SDCC's motion.
 2    (Doc. No. 425.)
  3                                       BACKGROUND
 4          The Court is already well-versed as to the events leading up to the institution of this
  5   action. Thus, for the purposes of this Order, the Court will only provide a naiTOW review
  6   ofthis lawsuit's factual and procedural background.
  7         On August 7, 2014, SDCC filed a lawsuit against DFP alleging two causes of action:
  8   (1) Federal Trademark Infringement, 15 U.S.C. § 1114; and (2) False Designation of
  9   Origin, 15 U.S.C. § 1125(a). (See generally Doc. No. 1.) SDCC is a non-profit corporation,
 10   formed in 1975, that is dedicated to the awareness and appreciation of comics and related
 11   popular ati fonns. (Doc. No. 1 ~ 10.) Every year since 1970, SDCC has produced and held
 12   its convention lmown as the "Comic-Con convention" in San Diego, Califomia. (Jd. ~ 11;
 13   Doc. No. 97 at 9.) 1 The convention spans several days in length and showcases several
 14   hundred events, workshops, educational and academic progratns, games, award shows,
 15   costume contests, as well as hosts panels of special guests that include science fiction and
 16   fantasy authors, film and television actors, directors, producers, and wtiters. (Doc. No. 1 ~
 17   12; Doc. No. 97 at 9.) In 2016, attendance to San Diego Comic-Con exceeded over 135,000
 18   attendees. (Doc. No. 97 at 9.)
 19         SDCC's family of trademarks at issue in this case are:
20                      I. Comic-Con;
21                      2. Comic Con Intemational;
22                      3. Anaheim Comic-Con; and
23
24
25
26
27
      1Page numbers refer to the CM/ECF number and not the number listed on the original
28    document.
                                                   2
                                                                                                 Ex. 2
                                                                                  14-cv-1865-AJB P. 2
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  1
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  3
  4                   4.
  5   (Doc. No. 1 ~ 13; Doc. No. 244 at 11.) Each of these registered trademarks is incontestable.
  6   (Doc. No. 381 at 25:15-25.) Additionally, SDCC states that it has used these marks
  7   extensively and continuously in interstate commerce and thus the marks have become
  8   valuable assets as well as symbols of its goodwill and positive industty reputation. (Doc.
  9   No. 1 ,[15.)
 10            In early20 13, Defendant Dan Farr Productions, a limited liability company, began
 11   to advertise and promote its own popular arts convention named "Salt Lake Comic Con"
 12   ("SLCC"). (Doc. No. 234-2 at 7; Herrera Decl. Ex. 5 ("Farr Depo." 11:4-9, Doc. No. 95-
 13   7).) Similar to SDCC's convention, SLCC is a three-day fan event featuring the best in
 14   movies, television shows, gaming, sci-fi, fantasy, and comic books. (Doc. No. 244 at 12.)
 15   Since 2013, SLCC has been held every year and in the beginning of 2014, Dan Farr
 16   Productions created its Salt Lake Comic Con FanXperience event, which has also been
 17   held every year since its inception. (Farr Depo. at 11 :10-15; Doc. No. 97 at 11.)
 18            Thus, the marrow of this case is whether DFP's comic atis and popular fiction
                                                                                                      2
 19   event named "Salt Lake Comic Con" infringed on SDCC 's three incontestable trademarks.
20    On December 8, 2017, after an eight-day jmy trial, the jury found that DFP had indeed
 21   infringed on SDCC's family of trademarks. (Doc. No. 395 at 2-5.) As to unfair competition
 22   and false designation of otigin however, the jury found in favor ofDFP. (!d. at 6.) In total,
 23   the jmy awarded cotrective advetiising damages to SDCC in the amount of $20,000.00.
 24   (!d. at 8.)
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26
 27
      2The Court notes that after the trial, DFP changed the name of their event to "FanX Salt
 28   Lake Comic Convention." (Doc. No. 513 at 7-8.)
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                                                                                                      Ex. 2
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  1                   Post-trial, SDCC filed three motions: (1) its motion for permanent injunction, (Doc.
  2     No. 419); (2) the instant motion, its motion for attomeys' fees and costs, (Doc. No. 425);
  3     and (3) its motion for judgment as a matter oflaw or in the alternative motion for new trial,
  4     (Doc. No. 433). Thereafter, on August 8, 2018, the Court ordered SDCC to file a
  5     supplemental brief breaking down the total amount of fees it requested. (Doc. No. 523.)
  6     DFP then asked for the opportunity to respond to SDCC's supplemental brief. (Doc. No.
  7     531.) The Court granted this request, and DFP's response was filed on August 22, 2018.
  8     (Id.; Doc. No. 532.)
  9                                                                                       DISCUSSION
 10                                                                  . al'-'P'-'u""r""'su""a"'n"'-t""to'-1"-'5'-U~.S""'.""C'.--.,_§-"1"'-1"-17'--'(=a)
        A"""-._ _,T'"""h"'is,_C""""as"""e'""i,_s""E""x""ce"'p'""tl"'o""n"'
 11                   SDCC's motion provides an exhaustive and detailed account of the actions it
 12     believes makes this case exceptional. (See generally Doc. No. 425-1.) In opposition, DFP
 13     asserts that SDCC's motion is based on distmiions, is unpersuasive, and relies on critiques
 14     that are hyperbolic and hypocritical. (See generally Doc. No. 512.)
 15                   The Lanham Act pe1mits an award of reasonable attorneys' fees to the prevailing
16      party in "exceptional cases." 15 U.S.C. § 1117(a). Originally, "[w]hile the term
17      'exceptional' [was] not defined in the statute, generally a trademark case [was] exceptional
18      for purposes of an award of attorneys' fees when the infringement [was] malicious,
19      fraudulent, deliberate or willful." Lindy Pen Co., Inc. v. Bic Pen Corp., 982 F.2d 1400,
20      1409 (9th Cir. 1993).
21                   In 2016, the Ninth Circuit in SunEarth, Inc. v. Sun Earth Solar Power Co., Ltd., 839
22     F.3d 1179 (9th Cir. 2016), relied on the Supreme Court's decision in Octane Fitness, LLC
23     v. ICON Health & Fitness, Inc., 134 S. Ct. 1749, 1756 (2014), to abrogate Lindy Pen Co.
24     and modify the standard defmition of "exceptional" in attomey fee recovery Lanham Act
25     cases. SunEarth, Inc., 839 F.3d at 1180. Ultimately, the Ninth Circuit held that "district
26     courts analyzing a request for fees under the Lanham Act should examine the 'totality of
27     the circumstances' to determine ifthe case [is] exceptional, exercising equitable discretion
28
                                                                                                         4

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  1 in light of the nonexclusive factors identified in Octane Fitness and Fogerty, and using a
  2     preponderance of the evidence standard." Id. at 1181 (intemal citation omitted).
  3           The Ninth Circuit also defined an exceptional case as one that simply "stands out
  4     from others with respect to the substantive strength of a party's litigating position
  5     (considering both the goveming law and the facts of the case) or the unreasonable manner
  6     in which the case was litigated." I d. at 1180 (citation omitted). The nonexclusive factors in
  7     deternrining if a case is "exceptional" include: "frivolousness, motivation, objective
  8     umeasonableness (both in the factual and legal components of the case) and the need in
  9     particular circumstances to advance considerations of compensation and deterrence." I d. at
 10     1181 (citation omittedV Additionally, despite the Ninth Circuit's decision to alter the
 11     definition of "exceptional," the Federal Circuit held that Octane Fitness "gave no
 12     indication that [the Federal Circuit] should rethink [its] litigation misconduct line of§ 285
 13     cases" and stated that "district courts can turn to [] pre-Octane Fitness case law for
 14     guidance" regarding such arguments. SFA Sys., LLC v. Newegg Inc., 793 F.3d 1344, 1349
 15     (Fed. Cir. 2015).
 16           In sum, litigation brought in bad faith or with objectively baseless claims may be
 17     considered exceptional, as may litigation demonstrating inequitable conduct or willful
18      infringement. Fogerty v. Fantasy, Inc., 510 U.S. 517, 525 n.12 (1994); see also Octane
19     Fitness, 134 S. Ct. at 1757 ("[A] case presenting either subjective bad faith or exceptionally
20     meritless claims may sufficiently set itself apart from mine-run cases to warrant a fee
21     award."). Similarly, courts "have awarded attomeys' fees ... where a party advances
22     arguments that are particularly weak and lack support in the record or seek only to re-
23     litigate issues the comt has already decided." Intex Recreation Corp. v. Team Worldwide
24      Corp., 77 F. Supp. 3d212, 217 (D.C. Cir. 2015). Thus, the determinationof"exceptional"
25
26
27
       3
        "Octane Fitness lowered the bar for an exceptional case finding[.]" Veracode, Inc. v.
28     Appthority, Inc., 137 F. Supp. 3d 17, 102 (D. Mass. 2015).
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  1 falls squarely within the discretion of the trial court. Highmarklnc. v. Allcare Health Mgmt.
  2   Sys., Inc., 134 S. Ct. 1744, 1748 (2014).
  3         Here, the jury found that DFP inftinged on all three ofSDCC's trademarks, yet also
 4    found that DFP did not willfully infringe the marks. (See generally Doc. No. 395.) Thus,
  5   under the original definition of "exceptional," SDCC' s request for attorneys' fees would
  6   have been difficult to advance successfully. See Gracie v. Gracie, 217 F.3d 1060, 1068
  7   (9th Cir. 2000) ("Here the jury explicitly fom1d that [the defendant] engaged in 'willful'
  8   infringement ... The district court's decision to malce a fee award to [the plaintiff] thus
  9   flows quite naturally from the jmy's finding of willful infringement ... ").However, after
 10   SunEarth, examining the totality of the circumstances, the Court finds that this case is not
 11   a dime a dozen. Instead, it is a trademark infringement lawsuit that stands out from others
 12   based on the umeasonable manner it was litigated and thus an award of attorneys' fees and
 13   costs to SDCC is justified.
 14         i. SDCC is the Prevailing Party
 15         As an initial matter, the Comt addresses DFP's assertion that the "split verdict" in
 16   this case illustrates that there is no clear winner. (Doc. No. 512 at 8-9.) Accordingly, as
 17   the Lanham Act only authorizes an award of fees "to the prevailing party," DFP contends
 18   that SDCC's motion is flawed. (Id.) DFP's argument is both unpersuasive and legally
 19   unsound.
20          Had DFP researched this issue thoroughly, DFP would have discovered that the jmy
21    verdict in favor of SDCC for trademark infringement renders SDCC the prevailing party.
22    See Farrar v. Hobby, 506 U.S. 103, 111-12 (1992) (illustrating that a patty prevails "when
23    actual relief on the merits of [the plaintiff's] claim materially alters the legal relationship
24    between the patties by modifying the defendant's behavior in a way that directly benefits
25    the plaintiff."); see also Hensley v. Eckerhart, 461 U.S. 424, 433 (1983) (holding that a
26    prevailing party is one that "succeed[s] on any significant issue in litigation which achieves
27    some of the benefit the parties sought in bringing suit.") (citation omitted); Orantes-
28    Hernandez v. Holder, 713 F. Supp. 2d 929, 942 (C.D. Cal. 2010) ("A plaintiff is deemed

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  l    the 'prevailing patiy' if, as a result of a judgment or consent decree entered in the legal
  2    action he or she brought, there is a 'material alteration of the legal relationship of the
  3    parties."') (citation omitted). Based on the foregoing, in the instant matter, SDCC is the
 4     prevailing party for§ lll7(a) purposes.
  5           Next, the Court identifies the various circumstances of this case that warrant an
  6    award of attomeys' fees and costs under§ ll17(a).
  7           ii.    DFP's Failure to Comply with Court Rules
  8           The Court highlights three incidents that occmred pnor to trial. First, in
  9    contravention to this Comt's Local Rules, DFP filed two summary judgment motions that
 10    totaled over forty pages in length. (Doc. Nos. 216, 218, 244, 245.) The local rules clearly
 11    explicate that when filing a motion, all the arguments should be contained in one brief, not
 12    exceeding a total of twenty-five (25) pages. CivLR 7.l.h.
 13           DFP advances two arguments to explain their actions, both of which are nonsensical
 14    and only fmiher support this Order's final conclusion. DFP asselis that they had leave to
 15    make their filings because the Clerk gave out a single hearing date for all dispositive
 16    motions and that SDCC also broke the rules as it filed both a motion for smmnaty judgment
 17    and a motion to exclude on the same day, which totaled over forty-three pages. (Doc. No.
 18    512 at 20-21.) DFP's reasoning is disconcerting. Logically, all arguments relating to a
 19    specific motion need to be contained in a single motion. Under DFP's themy of motion
20     practice, a party could file a separate brief for evety cause of action it sought to dismiss
21     under Federal Rule of Civil Procedme l2(b)(6), thereby violating the page limits set by
22     this Court. This is eiToneous. Thus, in contrast to DFP's belief that SDCC broke the rules,
23     it did not.
24            The Court also highlights that DFP did not file a timely Daubert challenge to
25     SDCC's expert Patrick Kennedy. The Comt then denied DFP's motion to file a late
26     challenge, however despite this, DFP utilized a motion in limine to revisit the issue. (Doc.
27     Nos. 321, 345, 340; Transcript of Motion in Limine Hearing at 169:14-16, November 14,
28     2017.) In the same vein, after DFP lost a Daubert challenge to SDCC's expert Mr. Ezell,
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                                                                                  14-cv-1865-AJF Ex. 2
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  1 (Doc. No. 263 at 10), DFP attempted to re-introduce their argument that Mr. Ezell and his
  2     Teflon Survey were irrelevant both dming motion in limine, (Doc. No. 314-1 at 7), and in
  3     their motion for judgment as a matter oflaw, (Doc. No. 429-1 at 14).
  4           Finally, the most prominent example ofDFP's disregard for this Court's mles and
  5 procedmes occmred on June 23, 2017, when DFP filed a motion for leave to amend their
  6 pleading that expressly referenced testimony that had been designated "Confidential-
  ?     Attorneys' Eyes Only" by SDCC and the Protective Order in this case. (Doc. No. 129-1 at
  8     3.) In spite of the highly confidential infonnation contained in the document, Defendant
  9     Bryan Brandenburg also disseminated the infmmation on the Internet through his social
 10     media accounts and SLCC's Twitter Page. (Id.)
 11           In sum, DFP's indifference to this Court's mlings and the Local Rules are actions
 12     that should be deterred by compensation furnished to SDCC.
 13           iii. DFP's Unreasonable Manner ofLitigation
 14                  a. DFP's Persistent Desire toRe-Litigate Issues Already Decided
 15            At every oppmtunity, DFP has repeated, re-argued, and recycled arguments already
 16     briefed by both parties and analyzed and mled on by the Court. This type of wasteful
17      litigation tactic forced SDCC to expend extra, unnecessaty legal fees and drove this Court
18      to squander already limited judicial resources.
19            The Court first focuses on DFP's naked licensing defense. This defense was first
20      produced at sunnnary judgment. (Doc. No. 263-1 at 20-25.) However, finding insufficient
21     evidence to support the theory, the Court denied DFP's motion on the matter. (Doc. No.
22     263 at 26-29.) Thereafter, dming the pre-trial conference, after the Court expressed its
23     concern that there was not enough evidence to bring this defense to trial, DFP offered to
24     prepm·e a fotmal proffer document on the issue and submit that in advance of the motion
25     in limine hearing. (Doc. No. 265 at 9:11-11:19.)
26            DFP's formal proffer document provided the Comt relatively the same evidence
27     supplied at summary judgment. (Doc. Nos. 315, 344.) Accordingly, still finding the
28     evidence inadequate, the Comt denied the motion. (Doc. No. 340.) Post-trial, DFP's motion
                                                     8

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  1 for new trial inexplicably argues that they are "entitled to a proper adjudication of its naked
  2    licensing defense." (Doc. No. 436-1 at 7.) Thus, in total, DFP has attempted to re-argue
  3    this defense three times, blatantly ignoring the record and this Court's previous mlings.
  4          DFP's repetitive motion practice also manifested itself in their "generic ab initio"
  5    defense. Initially, when this theory was first presented to the Court during summary
  6 judgment, DFP argued that this case "is not a genericide case." (Doc. No. 244 at 23.)
  7    Instead, DFP argued that "Comic-Con" was generic "before it was applied as a trademark
  8    to the products in question." (!d. at 24 (citing Horizon Mills Corp. v. QVC, Inc., 161 F.
  9    Supp. 2d 208, 220 n.16 (S.D.N.Y. 2001)).)
 !0          After carefully considering the evidence outlined by DFP, the Court denied DFP's
 11    summary judgment motion arguing that SDCC's trademarks are generic ab intio. (Doc. No.
 12    263 at 18.) Notwithstanding this fact, DFP brought a motion in limine "regarding
 13    genericness evidence." (Doc. No. 314-1.) Finding the in limine motion improper, the Court
 14    stated during the hearing:
 15          The Court: Well, it could be that I ruled out generic ab initio, already. And
             re-arguing it again is questionable to whether it's in conformity to what
 16
             motion in limine is about.
 17
             This is a motion in limine. We're talking about a time line and you've tried to
 18
             reargue the summary judgment.
 19
20     (Doc. No. 425-7 at 4:21-10: 12.) This motion was then denied. (Doc. No. 340.)
21           In spite of the summary judgment order and the in limine ruling, DFP's motion for
22     new trial devotes several pages to arguing that they should have been "allowed to show
23     Genericness Ab Initio." (Doc. No. 436-1 at 17-27.) DFP supported this argument with
24     more or less the same evidence produced at summary judgment. Altogether, "Generic ab
25     intio" has been discussed, analyzed, and denied by this Comi three times. 4
26
27
       4 Generic ab initio was not only repeatedly discussed, but it is also a defense that DFP
28     strategically used and then disposed of depending on the evidence they sought to exclude.
                                                    9

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                                                                                                 Ex. 9
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  1             Though not referenced by SDCC, DFP's use of the Oxford Dictionary definition of
  2      "Con" is another blatant example ofDFP's "head in the sand" litigation sh·ategies that has
  3      resulted in this Court repeatedly re-analyzing the same arguments. At summary judgment,
  4      to support their "generic ab intio" themy of defense, DFP argued that one may look to the
  5      individual parts of a marie. (Doc. No. 244 at 16, 19.) DFP then referenced the Oxford
  6      Dictionary definition of"con." (Id.) In its order denying DFP's summary judgment motion
  7      on "generic ab intio," the Court clearly explained that courts have not only held that
  8      dictionaty definitions m·e weak evidence of genericness, but that comis have routinely
  9      rejected the breaking down ofpln·ases into their individual and often generic patis. (Doc.
 10      No. 263 at 17.)
 11             Astonishingly, ignoring the case law provided to them, DFP's motion for new trial
 12      again points to the same Oxford dictionary definition. (Doc. No. 436-1 at 25.) As a result,
 13      this argument has been recycled by DFP twice in complete disregard of this Court's
 14      previous rulings and Ninth Circuit precedent. See Advertise. com, Inc. v. AOL Advertising,
 15      Inc., 616 F.3d 974,978 (9th Cir. 2010) (concluding that in determining similarity ofmat·ks
 16      "we look to the mark as a whole and that the combination of generic terms may, in some
 17      instances, result in a distinctive mark.").
 18            DFP also repeatedly sought to compel this Court to revisit their fraud defense. First,
19       DFP unsuccessfully requested leave to add fraud as an affitmative defense. (Doc. No. 202
20       at 6-10.) Thereafter, at the pretrial conference, DFP again referenced this defense. (Doc.
21       No. 265 at 12:8-20.) DFP then filed a motion in limine to be able to put forward evidence
22
23
   The Court notes that at the outset DFP plainly asserted that this was not a genericide case.
24 (Doc. No. 244 at 23.) DFP's summary judgment motion then asserted that as SDCC's
25 trademarks   were "generic ab initio," SDCC's Teflon smvey was itTelevant. (Id. at 23-24.)
   In contrast to the above, DFP's expert Jeffrey Kaplan stated in his report that he was hired
26 to "offer linguistic evidence supporting [his] opinion that the expression 'comic con' was
27 generic at the time the above-captioned law suit was filed, and is currently generic[.]" (Doc.
   No. 91-2 at 3 (emphasis added).) This discrepancy was noted by the Court in its summary
28 judgment order. (Doc. No. 263 at 12.)
                                                       10

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  1 of SDCC's alleged fraud on the USPTO to the jury. (Doc. No. 319.) The Court ultimately
  2   denied the motion after reminding DFP that it had already gotten rid of the fraud claim.
  3   (Transcript ofMotion in Limine hearing at 141:20-22, November 14, 2017.) In sum, fraud
 4    was re-argued two times.
  5          Ultimately, resembling a broken record, DFP has repetitively restated and rehashed
  6   several contentions that they were unable to advance successfully prior to trial. This type
  7   of cyclical motion practice is objectively umeasonable and has justified attorneys' fees
  8 under the Lanham Act. See Parks, LLCv. Tyson Foods, Inc., No. 5:15-cv-00946, 2017 WL
  9   3534993, at* 1 (E.D. Pa. Aug. 17, 2017) (holding that the hallmark of a case that has been
 10   litigated in an uureasonable manner is one that involves "wasteful procedural maneuvers
 11   or dilatmy tactics") (citation and internal quotation marks omitted); see also Cognex Corp.
 12   v. Microscan Sys., Inc., No. 13- CV-2027 JSR, 2014 WL 2989975, at *4 (S.D.N.Y. June
 13   30, 2014) (criticizing the plaintiff for post-trial motions that simply sought to relitigate
 14   issues decided during trial and awarding fees at least as to those motions); Precision Links
 15   Inc. v. USA Prods. Grp., Inc., No. 3:08-cv-00576-MR, 2014 WL 2861759, at *3 (W.D.N.C.
 16   June 24, 2014) (criticizing the plaintiff for seeking a preliminaty injunction based in large
 17   part on a previously rejected theory of liability and for filing frivolous post dismissal
 18   motions).
 19                 b. DFP's Objectively Unreasonable Legal Arguments
20           DFP's efforts to formulate legal arguments based on factually and legally irrelevant
21    case law also help bolster this Court's conclusion that the instant matter is not a middle-of
22    the-road trademark case. The Court notes that at ce1iain points, DFP's zealous advocacy
23    has turned into gamesmanship.
24           To begin with, the Court focuses on DFP's motion to amend their pleading. DFP
25    sought to amend so that they could allege that SDCC committed fraud on the USPTO. (See
26    generally Doc. No. 204-1.) However, DFP's motion failed to cite to the correct legal
27    standard to suppmi such a claim. Instead, DFP pointed the Court to a list of inapplicable
28    patent cases. (Id. at 5.)
                                                   11

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  1           Fmiher, DFP requested amendment so as to add a defense of inequitable conduct.
  2     (Id. at 16.) However, as the Comt pointed out in its order, inequitable conduct is a defense
  3     raised in patent infringement cases. (Doc. No. 202 at 11 (see Mag Instrument, Inc. v. JS
  4    Prods., Inc., 595 F. Supp. 2d 1102, 1109 (C.D. Cal. 2008) (holding that inequitable conduct
  5    consists of several elements including "the failme to disclose known matelial information
  6    dming the prosecution of a patent, coupled with the intent to deceive the PTO.")).)
  7           DFP's motion in limine proffering evidence of a naked license is yet another
  8    example ofDFP's faulty, hodgepodge legal reasoning. (Doc. No. 344.) DFP states:
  9           Second, "where circumstances or the previous comse of dealing between the
              parties places the offeree under a duty to act or be bound, his silence or
 10
              inactivity will constitute his assent": SDCC's silence, on the heels of its
 11           "threatened immediate or vigorous enforcement," was "intentionally
              misleading"-and gave SDCC "a duty to speak," especially when coupled
 12
              with Reed's communicated reliance on its remedialmeasmes' sufficiency and
 13           years of friendly intercomse. Third, "implied license may arise by
                                            or lack of ob1ect1c
 14
 15
 16    (Id. at 6 (internal footnotes omitted).) The Court illustrates that in total, DFP selectively
 17    chose and blended together specific phrases from five different eases. Specifically, DFP
18     quotes from: Beatty Sa.fway Scaffold, Inc. v. Skrable, 180 Cal. App. 2d 650, 655 (1960);
19     Hottel Corp. v. Seaman Corp., 833 F.2d 1570, 1574 (Fed. Cir. 1987); Scholle C01p. v.
20     Blackhawk Molding Co., 133 F.3d 1469, 1472 (Fed. Cir. 1998); IA.E., Inc. v. Shaver, 74
21     F.3d 768, 775 (7th Cir. 1996); and Winbond Elec. Corp. v. ITC, 262 F.3d 1363, 1374 (Fed.
22     Cir. 2001). (Id.) However, DFP's reliance on the foregoing eases is misplaced-both Hottel
23     Corp. and Scholle Corp., analyze equitable estoppel defenses in the patent infringement
24     context, 833 F.2d at 1574; 133 F.3d at 1472, Shaver, examined how a copyright owner
25     could transfer to another person any exclusive rights an owner has in a copyright, 74 F.3d
26     at 774-75, and Winbond examined an implied license/waiver in a patent infringement case,
27     262 F.3d 1374.
28
                                                    12

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  1               A final example of DFP's groundless legal reasoning comes from their opposition
  2      brief to SDCC's instant motion. DFP's btief cites to Kellogg Co., to demonstrate that Mr.
  3      Brandenburg did not admit that Comic Con is a brand. (Doc. No. 512 at 10-11.) Instead,
  4      DFP claims that what Mr. Brandenburg meant when he said "brand" was the "goodwill"
  5      of SDCC 's events, not that he meant "brand" in a legal trademark sense. (Id. at 11.) The
  6      portion of Kellogg DFP employs is:
  7               Kellogg Company is undoubtedly sharing in the goodwill ofthe article known
                  as "Shredded Wheat"; and thus is sharing in a market which was created by
  8
                  the skill and judgment of plaintiff's predecessor and has been widely extended
  9               by vast expenditures in advertising persistently made. But that is not unfair.
                  Shadng in the goodwill of an article unprotected by patent or trade-mark is
 10
                  the exercise of a right possessed by all-and in the free exercise of which the
 11               consuming public is deeply interested.
 12      Id. (citingKelloggCo. v.Nat'lBiscuitCo.,305U.S.111, 122(1938)).
 13               It is plainly clear to the Court and should be evidently unmistakable to DFP that
 14      Kellogg is factually immaterial. In Kellogg, the plaintiff did not have an exclusive light to
 15      the use of the term "Shredded Wheat" as a trade name as it was determined that the term
16       was genetic of the article it described. Id. at 116 (emphasis added). In fact, "Shredded
17       Wheat" was never used as a trademark. Id. at 117. Additionally, the patent for the product
18       and the process of making the item was "dedicated to the public" as the patent had expired
19       on October 15, 1912. Id. The present matter involves three incontestable trademarks-
20       trademarks DFP lmew were registered with the USPTO-and there is no patent in play. 5
21       (Doc. No. 394 at 21.)
22               The above-mentioned examples are simply a small collection ofDFP's unreasonable
23       manner of litigation and do not encompass every instance they misrepresented a case for
24       their own benefit. This type of frivolous motion practice should be deterred. See Monolithic
25
26       5
           The Court notes that Kellogg is also a recycled argument, having already determined its
27       inapplicability during motion in limine. (See generally Doc. No. 314; Transcript of Motion
         in Limine Hearing at 29:5-19, November 14, 2017.)
28
                                                       13

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  1 Power Sys., Inc. v. 02 Micro Int'l Ltd., 726 F.3d 1359, 1366 (Fed. Cir. 2013) ("[L]itigation
  2   misconduct and unprofessional behavior may suffice, by themselves, to make a case
  3   exceptional .... ").
  4         Beyond gamesmanship, there has been inappropriate citation to as well as
  5   incomplete or inaccurate references to purported case authority throughout this litigation
  6   by DFP. In each order on every post-trial matter, DFP has been called out in this regard.
  7                c. DFP's Objectively Umeasonable Responses to this Litigation
  8         More convincing evidence of this case's exceptional nature materializes itself in
  9   DFP's unreasonable responses to this litigation. DFP admits to receiving SDCC's cease
 10   and desist letter. (Doc. No. 383 at 92:9-20; Tr. Ex. 127.) However, instead of consulting
 11   an attorney or trying to reach out to SDCC's legal team, DFP continued to use "Comic
 12   Con" in their event name. (!d. at 92:13-23.) Moreover, within a week of receiving the cease
 13   and desist letter and with fulllmowledge of SDCC's trademark registrations, DFP sought
 14   and successfully registered their Salt Lake Comic Con mark with the USPTO. (Doc. No.
 15   304-1 at 2.) The Couti finds DFP's foregoing reactions to be both factually and legally
 16   unreasonable.
 17         DFP asserts that since the jury sided with them on willfulness, the Court may not
 18   reach a different result by applying the same stipulated definition of willfulness to the same
 19   body of evidence and return a different result. (Doc. No. 512 at 13.) DFP then asserts that
20    willfulness in the trademark infi"ingement context is the same as "motivation" under §
 21   1117(a). (Id. at 12-13.) The Court disagrees.
22          First, DFP's assertion that the definition of "willfulness" minors "motivation" is
 23   completely unsuppmied. This is simply a legal theory conjured up by DFP. Second, a
24    finding of exceptionality pursuant to § 1117(a) includes examining the totality of the
25    circumstances, which includes factors such as objective unreasonableness, frivolousness,
26    compensation, deterrence, and motivation. SunEarth, Inc., 839 F.3d at 1181. Thus, the
27    Court is not altering the jury's willfulness verdict as DFP suggests. Instead, the Court is
28
                                                    14

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  1 reviewing the circumstances of this case under the lens of§ 1117(a), a review process that
  2   is distinct from a willfulness analysis.
  3         Accordingly, the Comt finds DFP's various reactions listed above objectively
  4   umeasonable pursuant to§ 1117(a). See Decus, Inc. v. Heenan, No. 16-5849, 2018 WL
  5   1082842, at *3 (E.D. Pa. Feb. 27, 2018) ("Cases finding exceptionality based on litigation
  6   in an 'unreasonable manner' include a defendant's continued trademark inftingement after
  7   it knew, through the [USPTO] and plaintiffs cease and desist letters, its mark 'was
  8   confusingly similar' to plaintiffs mark[.]"); see also Mountz, Inc. v. Northeast Indus.
  9   Bolting and Torque, LLC, No. 15-cv-04538-JD (MEJ), 2017 WL 780585, at *2 (N.D. Cal.
 10   Jan. 27, 2017) ("Defendant's response to the litigation, including the threats to Plaintiffs
 11   business, the attempt to register the offending mark with the PTO, and the failme to respond
 12   to the Complaint, was objectively unreasonable.").
 13                d. Objectively Umeasonable Litigation Conduct
 14         An additional component to the Court's analysis is DFP's misconduct dming hial.
 15   SDCC places a great emphasis on this conduct, (Doc. No. 425-1 at 22-26), while DFP's
 16   opposition brief focuses the Court's attention on SDCC's misconduct during trial, (Doc.
 17   No. 512 at 27-30). The Court finds SDCC's assertions more persuasive.
 18         At the outset, DFP's opening statement included the following comment:
 19         The fact is Comic Con is thriving. Okay. They made more money each year
            since Salt Lake Comic Con came on the scene. They haven't lost a single
20          customer to us ... We're small potatoes. They also have $15 million in cash
 21         sitting in their banlc. They own a downtown office building they paid $5 million
            cash for. They're not for-profit, but they're the deep pocket.
22
23          So Defendants, if they have to pay even a fraction of what CCI asks would be
            put out of business and the people of Utah would be paying for it. But they're
24          also suing them individually. So they would be pushing them to bankruptcy.
25
      (Doc. No. 381 at 52: 12-53:24.) Referencing a party's wealth to play off the bias ofthe jury
26
      is clear misconduct. See Hoffman v. Brandt, 65 Cal. 2d 549, 552-53 (1966) ("The argument
27
      was clearly error ... a deliberate attempt by counsel to appeal to social or economic
28
                                                   15
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  1 prejudices of the jury, including the wealth or povetiy of the litigants, is misconduct where
  2   the asserted wealth or poverty is not relevant to the issues of the case."); see also Martinez
  3   v. Dep't ofTransp., 238 Cal. App. 4th 559, 566 (2015) ("The law, like boxing, prohibits
  4   hitting below the belt. The basic mle forbids an attorney to pander to the prejudice, passion
  5   or sympathy of the jury. In more concrete terms, attomeys cannot make appeals based on
  6   irrelevant financial aspects of the case such as the hardship that would be visited on a
  7   defendant from a plaintiff's verdict.") (intemal citation omitted).
  8          During trial, DFP also introduced different concepts that played off of their "generic
  9   ab initio" theory of defense-a defense that this Order clearly delineates was excluded at
 10   summary judgment, the pre-trial conference, and motion in limine. For instance, DFP made
 ll   references to a "genetic brand." (Doc. No. 381 at 35:19-20.) SDCC objected to such
 12   classification   and   the   Court   sustained     the   objection stating that it was          a
 l3   "mischaracterization" and asked the jmy to disregard the comment. (!d. at 35:24-36:5.)
 14          DFP however did not stop in their quest to put this legally flawed notion before the
 15   jury. After being admonished, DFP began referring to Comic-Con as a "national brand."
 16   (!d. at 39:18.) For example, during Mr. Brandenburg's testimony, the Court had to censure
 17   DFP.
 18          Q. And when you said, but we are hijacking the brand, were you referring to
             San Diego's brand?
 19
             A. No, I was not.
20           Q. Whose brand were you referring to?
             A. As you can see in the next sentence, I clarify what I was referring to was
21
             the national Comic Con brand.
22           Ms. Bjurstrom: Objection, your honor.
             The Court: Sustained. Jury will disregard the last comment.
23
             Mr. Katz: I'm not sure why.
24           The Comi: There is no evidence of a national comic brand, sir.
25    (Doc. No. 383 at 123:23-124:9.) Then during closing arguments, despite the Court's
26    previous mlings, DFP continued to use the phrases "Comic Con circuit" and "Comic Con
27    Brand." (Doc. No. 403 at 40:9-43:5.)
28
                                                    16

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  1         Further, DFP misstated the law. For instance, DFP argued a "substantial confusion"
  2   standard instead of the likelihood of confusion test utilized by the Ninth Circuit. (Id. at
  3   46:9-14.) Moreover, DFP constantly and repeatedly referred to SDCC's trademark as
 4    "Comic dash Con." (Doc. No. 381 at 37:2-4 ("And you saw on the screen that Plaintiff's
  5   showed you, Comic-Dash-Con as she described each era of Comic Con."); Id. at 39:11-16
  6   ("In fact, in 1998, there were 30 events that called themselves Comic Con, and that's ten
  7   years before San Diego Comic Convention, or SDCC, ever applied for their mark in
  8   Comic-Dash-Con alone.").)
  9         The Ninth Circuit has repeatedly emphasized that similarity of two marks is first
 10   "considered in their entirety[.]" GoTo.com, Inc. v. Walt Disney Co., 202 F.3d 1199, 1206
 11   (9th Cir. 2000). Second, "similarity is adjudged in terms of appearance, sound, and
 12   meaning, and third, similarities are weighed more heavily than differences." Id. (intemal
 13   citations omitted). Under this standard, cases from this district as well as others have held
 14   that a dash or hyphen is inconsequential in determining the similarity of two marks. See
 15   Maxim Integrated Prods., Inc. v. Quintana, 654 F. Supp. 2d 1024, 1031-32 (N.D. Cal.
 16   2009) (placing little emphasis on the hyphen in the mark "My-iButton" when comparing
 17   its similarity to "i Button"); see also Therma-Scan, Inc., v. Thermoscan, Inc., 295 F.3d 623,
 18   633-34 (6th Cir. 2002) (finding the dash insignificant in the mark Therma-Scan when
 19   comparing its similarity to the mark Thermoscan).
20          Despite the foregoing, at trial, DFP proceeded under the belief that the dash was
21    significant in determining the similarity of their mark and SDCC's "Comic-Con"
22    trademark. For example, DFP stated:
23          Mr. Katz: It's Comic-Dash-Con, and their position is it's enforceable as
            Comic Con with nothing in between, a space, a dash. You know, they use the
24          dash when they use it alone, and they use the space when they use it with
25          something else.
26          Ms. Bjurstrom: We have Comic Con Intemational without a dash, and we
27          have San Diego Comic Con International without a dash.
28
                                                   17

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  1         The Comi: But as to Comic Con with the dash, does the mark cover Comic
            Con without the dash in its plain and literal meaning?
  2
            Ms. Bjurstrom: Absolutely.
  3         The Court: How?
            Ms. Bjurstrom: It is. It's likely to be confusing. You don't say Comic-Hyphen-
 4
            con.
  5         Mr. Katz: That's what we're trying to establish, that it is not likely to be
            confusing.
  6
            Ms. Bjmstrom: It's the same mark.
  7         The Comi: So if- -
            Ms. Bjmstrom: You look at how it looks, how it sounds, how it's perceived.
  8
            You don't say Comic - -
  9         Mr. Katz: We disagree.
            Ms. Bjmstrom: Please. You don't say Comic-Hyphen-Con. You don't say
 10
            Coca-Hyphen-Cola. You say Coca-Cola.
 11
      (Doc. No. 382 at 58:10-59:13.)
 12
            In light of the case law from this district, DFP's forceful attempts to draw the jury's
 13
      attention to the dash in "Comic-Con" in analyzing the similarity of the two trademarks at
 14
      issue is legally groundless. See Super-Krete lnt'l, Inc. v. Sadleir, 712 F. Supp. 2d 1023,
 15
      1032 (C.D. Cal. 2010) ("While Defendants argue that the hyphen is significant in
 16
      modifying the term, this argument is contrary to the case law-and common sense.").
 17
            Finally, during closing argmnent, DFP doubled down and broke the "Golden Rule."
 18
      DFP's counsel stated:
 19
            Even if you accept the dismissive "they're just infringers, we'll get to them."
20          Okay. They've caused harm, too. What share of the harm did they cause to
            this brand erosion that we haven't seen any measme of? So we are just asking
21
            you to think critically about the evidence. Think about what it means. And
22          what it would mean to you if you were personally involved in this.
            The Court: Golden Rule. Jmy is not--you are not to put the jmy in the place
23
            of either party. The jury will disregard the last comment.
24          Mr. Katz: I apologize for that. I will state it differently.
25    (Doc. No. 403 at 71 :2-13.) The "Golden Rule" argument, "asking the jury to put itself in
26    the position of the party, is improper." Reynolds v. Gerstel, No. 1:09-cv-00680-SAB, 2013
27    WL 4815788, at *5 (E.D. Cal. Sept. 9, 2013); see also Lovett v. Union Pac. R.R. Co., 201
28
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  1   F.3d 1074, 1083 (8th Cir. 2000) (explaining that the Golden Rule "argument is universally
  2   condemned because it encourages the jmy to depart from neutrality and to decide the case
  3   on the basis of personal interest and bias rather than on the evidence.") (citation omitted).
 4          In sum, DFP's trial misconduct further suppotis the Court's conclusion that this case
  5   is "exceptional" pursuant to§ 1117(a).
  6         iv. Remaining Issues
  7         One additional factor in determining the exceptionality of a case under the Lanham
  8   Act is the substantive strength of a party's litigating position. See Veracode, 13 7 F. Supp.
  9   3d at 101. SDCC points to the following pieces of evidence to demonstrate the strength of
 10   its case: (1) the incontestable status of its trademarks; (2) its trademark survey that
 11   demonstrated that 83% of consumers recognize it as a brand; (3) Mr. Brandenburg's
12    admission that Comic-Con is a brand; and (4) the commercial strength of its marks. (Doc.
 13   No. 425-1 at 11-12.) In opposition, DFP argues that their case is equally strong. (Doc. No.
 14   512 at 9-10.)
 15         The Comi finds that this case is not so "deeply lopsided" in regards to strength to
16    warrant finding it exceptional under this specific factor. See Veracode, Inc., 137 F. Supp.
 17   3d at 101 (holding that a case must present the "indicia of a deeply lopsided case" for the
18    moving party to satisfy this element). The Court explicates that though SDCC's case is
19    compelling and heavily supported by persuasive evidence, DFP's case, including the
20    evidence of over one hundred comic events using "comic con" in their event name, is not
21    objectively frivolous.
22          Thus, this factor weighs neutrally. See GametekLLCv. Zynga, Inc., No. CV 13-2546
23    RS, 2014 WL 4351414, at *3 (N.D. Cal. Sept. 2, 2014) (explaining that although the
24    opposing party's briefing "consisted of granular parsing of the claimed steps rather than
25    any substantive explanation of how this differed from the underlying abstract idea[,] [i]t
26    did not ... descend to the level of frivolous argument or objective unreasonableness.").
27          Next, the Court turns to SDCC's argument that DFP's abuse ofthe media makes this
28    case "exceptional." (Doc. No. 425-1 at 7, 8, 14-15.) Specifically, SDCC takes issue with
                                                    19

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  1   the press releases and interviews DFP gave after they received SDCC's cease and desist
 2    letter, their articles published through social media that attacked SDCC and its executives,
  3   and DFP's alleged "public bullying strategy" that persisted over three years all aimed at
 4    denigrating SDCC before the public. (Jd.) DFP asserts that they cannot be punished for
  5   exercising their First Amendment rights. (Doc. No. 512 at 15-16.)
  6         The Comi's analysis under this factor is best explained by quoting to Defendant
  7 Brandenburg himself. In a news atiicle, Mr. Brandenbmg explained his reaction to
  8   receiving SDCC's cease and desist letter:
  9         "Our knee jerk reaction was that [SDCC was] trying to intimidate us" ... "We
            were not going to cease and desist using the name. We decided to go public
 10         about it." After consulting with their lawyers, the team behind the Salt Lake
 11         Comic Con lmew they had strong legal ground to stand on, but they didn't
            want to go to court, they wanted to win in the comi of public opinion ...
 12         "Evetyone said that San Diego had no leg to stand on, but the only way to win
 13         this would be to outspend them on legal fees" . . . "Our strategy was, if we
            m·e going to spend legal fees vs. legal fees, we wanted to be creative. We put
 14         it out to the public, challenging the cease and desist letter publically."
 15
 16   (Doc. No. 126-3 at 2-3.)
 17         Refusing to cease and desist and tmning to the media to litigate a trademark
 18   infringement case in the comt of "public opinion" is objectively irrational. The Court
 19   clarifies that it is not maintaining that Mr. Brandenbmg was not entitled to his First
20    Amendment rights. Instead, looking to the standard prosctibed by the Ninth Circuit,
21    objectively, DFP's reaction and actions in response to SDCC's cease and desist letter force
22    this case to stand out from others. Nevertheless, the Comi notes that this argument is but
23    one small factor in this Order's analysis. In fact, even without this element, the
24    circumstances discussed supra pp. 7-18 adequately and reasonably justifY SDCC's request
25    for attorneys' fees pursuant to§ 1117(a).
26          Finally, DFP's opposition brief is littered with statements such as: "The jury
27    disagreed; but in finding no willfulness, the jury accepted DFP's explanation that when the
28    defendants used the term 'brand,' they were referring to that goodwill, the goodwill of the

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  1 events." (Doc. No. 512 at 11.) These blatant, unsupported statements are plainly specious-
  2   DFP has no idea what the jmy believed or how they understood the evidence. Thus, the
  3   Court ignored such statements in coming to its conclusion.
 4             v.        Conclusion
  5            SDCC's motion is bursting at the seams with incidents that it believes demonstrates
  6   the exceptional nature of this case. After careful consideration of the totality of the
  7   circumstances, the Comt agrees with SDCC and finds that it has satisfied its burden.
  8 Accordingly, the Comt GRANTS SDCC's motion for attorneys' fees and costs, subject to
  9   the deductions delineated below. See Kilopass Tech. Inc. v. Sidense Corp., No. C 10-02066
 10   SI, 2014 WL 3956703, at *10-14 (N.D. Cal. Aug. 12, 2014) (concluding that the case was
 11   exceptional based on the defendant's "exceptionally meritless" claims, the unreasonable
 12   manner in which the case was litigated, the defendant's shifting theories of infringement,
 13   and conduct that amounted to gamesmanship).
14    "'B,_.__S"'D""-"C"'C"'-'-"s'-'R"'e""q,j,!u"'e"'s""te"'d""F"-e"'e"'s'-'a"'r-"e-'S"'u"'b'-'j"'ec"'t""t""o""'D~e""d""u"'c"'tl"".o"'n"'s
15            SDCC argues that its fees and the allocated time spent are reasonable. (Doc. No.
 16   425-1 at 27-29.) DFP's opposition brief devotes the last two pages to arguing that
 17   bifurcation is proper in the instant matter as they could not "fully respond to both liability
 18   and the proper amount of any award" in their opposition brief. (Doc. No. 512 at 30.) DFP
 19   then requests that an additional proceeding be had on the amount. (Id.)
20             The Comt declines DFP's request for bifurcation and for a further proceeding. DFP
21    was provided the opportunity to oppose SDCC's motion. Their decision to forego the
22    chance to rebut the rates of SDCC's attorneys and the reasonableness of their time sheets,
23    not only fails to satisfy their burden at this stage of the litigation, but also acts as a waiver
24    to any arguments not presented in their opposition brief. See Stichting Pensioenfonds ABP
25    v. Countrywide Fin. Corp., 802 F. Supp. 2d 1125, 1132 (C.D. Cal. 2011) ("In most
26    circmnstances, failure to respond in an opposition brief to an argument put forward in an
27    opening brief constitutes waiver or abandomnent in regard to the uncontested issue.")
28    (citation omitted).
                                                                      21

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  1             Moreover, as DFP has failed to challenge or dispute SDCC's hourly rate or provide
  2      substantial assertions opposing SDCC's hours logged, the Court's inquiry ends after it
  3      determines whether the fee request is reasonable. See United States v. $28,000.00 in US.
  4      Currency, 802 F.3d 1100, 1105 (9th Cir. 2015) ("When ... a fee target has failed to offer
  5      either countervailing evidence or persuasive argumentation in support of its position, we
  6      do not think it is the court's job either to do the target's homework or to take heroic
  7      measures aimed at salvaging the target fi·om the predictable consequences of self-indulgent
  8      lassitude.") (citation omitted).
  9            The Court now turns to an evaluation of the reasonableness of SDCC's fees. Courts
 10      typically determine reasonableness by conducting a lodestar analysis of the hours expended
 11      and the hourly rate charged. See McGrath v. Cty. of Nevada, 67 F .3d 248, 252 (9th Cir.
 12      1995); see also Camacho v. Bridgeport Fin., Inc., 523 F.3d 973, 978 (9th Cir. 2008)
 13      (explaining that in the Ninth Circuit, courts calculate an award of attorneys' fees using the
 14      lodestar method, multiplying "the number of hours the prevailing party reasonably
 15      expended on the litigation by a reasonable hourly rate.") (citation omitted). The burden is
 16      on the fee applicant to demonstrate that the number of hours spent were "reasonably
 17      expended" and that counsel made a "good faith effort to exclude from [the] fee request
 18      hours that are excessive, redundant, or otherwise unnecessary[.]" Hensley, 461 U.S. at 434.
 19      The district court has broad discretion in determining the reasonableness of attorney's fees.
20       See Gates v. Deukmejian, 987 F.2d 1392, 1398 (9th Cir. 1992).
21             Additionally, "[a]lthough in most cases, the lodestar figure is presumptively a
22       reasonable fee award, the district court may, if circumstances warrant, adjust the lodestar
23       to account for other factors which are not subsumed within it." Ferland v. Conrad Credit
24       Corp., 244 F.3d 1145, 1149 n.4 (9th Cir. 2001). The factors are:
25             (1) the time and labor required, (2) the novelty and difficulty of the questions
               involved, (3) the skill requisite to perform the legal service properly, (4) the
26
               preclusion of other employment by the attorney due to acceptance of the case,
27             (5) the customary fee, (6) whether the fee is fixed or contingent, (7) time
               limitations imposed by the client or the circumstances, (8) the amount
28
                                                      22

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  1         involved and the results obtained, (9) the experience, reputation, and ability
            of the attorneys, (10) the "undesirability" of the case, (11) the nature and
  2         length of the professional relationship with the client, and (12) awards in
  3         similar cases.
 4    Ballen v. City ofRedmond, 466 F.3d 736, 746 (9th Cir. 2006) (citation omitted).
  5         In total, SDCC requests $4,994,245.20 in attomeys' fees and costs incurred by it
  6   from the inception of this case through August 10, 2018. (Doc. No. 527 '1]5.) In addition,
  7   SDCC also requests certain non-taxable costs, including $243,833.06 that SDCC paid to
  8   its two expert witnesses: Matthew G. Ezell and Patrick Kennedy, along with their
  9
      assistants. (Doc. No. 425-3 '1]24.)
 10
            i. Reasonable Hourly Rate
 11         The determination of reasonable hourly rates is made by examining the prevailing
 12   market rates in the relevant community charged for similar services by "lawyers of
 13   reasonably comparable skill, experience, and reputation." Davis v. City and Cty. of San
 14   Francisco, 976 F.2d 1536, 1546 (9th Cir. 1992) (citation omitted), opinion vacated on
 15   other grounds by 984 F.2d 345 (9th Cir. 1993). The "relevant community" for these
 16   purposes is the district in which the lawsuit proceeds. Barjon v. Dalton, 132 F.3d 496, 500
 17
      (9th Cir. 1997).
 18         The moving party has the burden to produce "satisfactmy evidence, in addition to
 19   the affidavits of its counsel, that the requested rates are in line with those prevailing in the
20    community for similar services of lawyers of reasonably comparable skill and reputation."
21
      Jordan v. Multnomah Cty., 815 F.2d 1258, 1263 (9th Cir. 1987). Once the fee applicant
22    has met its burden, the opposing party "has a burden of rebuttal that requires submission
23
      of evidence to the district court challenging the accuracy and reasonableness of the hours
24    charged or the facts asserted by the prevailing party in its submitted affidavits." Gates, 987
25
      F.2d at 1397-98.
26          SDCC cites to several Southern District of California cases as well as employs the
27    declarations of Callie A. Bjurstrom and Peter K. Halm to illustrate that its attomey rates
28
                                                     23

                                                                                    14-cv-1865· Ex. 2
                                                                                                Ex. 23
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  1 are reasonable. The following are the rates for the SDCC attorneys, paralegals, and
  2   litigation support team members who worked on the present matter.
  3      1. Callie A. Bjurstrom, lead trial attomey with over twenty-nine years of experience---
  4         $675.00 to $760.00 an hour.
  5      2. Peter K. Hahn, a partner and member of Pillsbmy's Intellectual Property ("IP")
  6         Section with over twenty-eight years of experience~$675.00 to $760.00 an hour.
  7      3. Michelle A. Henera, an attorney with over sixteen years of litigation experience--
  S         $525.00 to $585.00 an hour.
  9      4. Conor Civins, a partner with over fomieen years of experience~$550.00 to $685.00
 10         anhour.
 11      5. Kirsten Gallacher, an associate in Pillsbury's IP section~$385.00 to $545.00 an
 12         hour.
 13      6. Nathaniel Smith, a University of San Diego School ofLaw 2007 graduate~$550.00
 14         to $730.00 an hour.
 15      7. Matthew Stephens, an associate in Pillsbury's IP Section~$545.00 an hour.
 16      8. Tim Rawson, a 2014 Pepperdine University School of Law graduate~$545.00 an
 17         hour.
 18      9. Lauren Wardle, an associate in Pillsbury's IP   Section~$560.00   an hour.
 19      10. David Stanton, a partner and member ofPillsbmy's Litigation section~$765.00 an
20          hour.
21       11. Andrew Chevalier, William Collier, Carl DiCarlo, Benton McDonough, Wilton
22          McNair, Allison Porter, Candes Prewitt, Jennifer Romeo, Kelly Sims, Jenny
23          Villalobos, Eboni Wooden, and Calumn Yeaman, contract attomeys who work out
24          of Pillsbmy's office in Nashville, Tennessee who assisted with eDiscovety,
25          document review, and legal research-$110.00 an hour.
26       12. Sandra Edge, a senior legal analyst in Pillsbury's IP Section with over thirty years
27          of experience~$285.00 to $315.00.
28       13. Cody Gartman, a trial paralegal with over seven years of experience~$245.00 an
                                                  24
                                                                                                    2
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  1         hour.
 2       14. Louie Perez, a senior legal analyst in Pillsbmy's IP section with over five years of
  3         experience-$295.00.
 4       15. Colin Drake, a Litigation Support Project Management Coordinator with over ten
  5         years of experience-$275.00 to $305.00 an hom.
  6      16. Val Trinidad, a Senior Litigation Support Analyst with over nme years of
  7         experience-$295.00 to $305.00 an hour.
  8      17. Jolm Monmrez, a Research Specialist-$15 0. 00 an hour.
  9      18. Stacey Barnes, a paralegal in Pillsbmy's IP section-335.00 an hom.
 10      19. Martin Bridges, a consulting manager in Pillsbury's Corporate Securities Group
 11         whose testimony was read into the record at trial-$425.00 an hour.
 12      20. Thomas Brooks, the Discovery Project Manager-$305.00 an hour.
 13      21. Stacey Cmnpbell, a paralegal in Pillsbury's IP section who provided trial
 14         preparation support-$285.00 an hour.
 15      22. John Farahjood, a Litigation Suppoti Specialist who assisted with rev1ew of
 16         electronically stored information-$305.00 an hour.
 17      23. Gordon Moffat, Director of Litigation Support Services-$390.00 an hour.
 18      24. Patrick Ng, a Litigation Support Project Manager-$305 .00 an hour.
 19      25. Anthony Vugrinecz, a Senior Litigation Support Ana1yst-$299.42 an hour.
20    (Doc. No. 425-3 "tf"tf 2-16; Doc. Nos. 527-2, 530.)
21          Ultimately, the Court finds that SDCC has satisfied its initial burden and guided the
22    Court as to the reasonable homly rate prevailing in the community for similar work
23    performed by attorneys of comparable skill and reputation. See Chalmers v. City of Los
24 Angeles, 796 F.2d 1205, 1210 (9th Cir. 1986). First, as to the two cases provided by SDCC,
25    the homly rates determined to be reasonable were $607.50 for Ms. Bjurstrom, $472.50 for
26    Ms. Herrera, (Doc. No. 425-4 at 17), and $630 an hour for a partner and $495 an hour for
27    an associate, (!d. at 24). The remainder of the cases cited to by SDCC demonstrate that
28    rates for attorneys in the intellectual property division have earned upwards of $800.00 an
                                                   25

                                                                                14-cv-1865-A Ex. 2
                                                                                             Ex.25
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  1 hour. See Zest IP Holdings, LLC v. Implant Direct Mfg., LLC, No. 10-CV-0541-GPC
  2   (WVG), 2014 WL 6851612, at *5-6 (S.D. Cal. Dec. 3, 2014) (finding rates reasonable
  3   where plaintiffs sought "an hourly rate of between $170 per hour and $895 per hour
  4   depending on the particular attorney or paralegal" for work by a "multi-state/nationallaw
  5   finn"). Thus, based off the cases delineated above, the Court finds SDCC's unopposed
  6   attomeys' rates listed supra pp. 23-24 reasonable.
  7         The Court notes that DFP's response to SDCC's supplemental fee brief argues that
  8   SDCC has not justified its lawyers' hefty year-over-year rate increases. (Doc. No. 532 at
  9   6.) DFP then requests that the Court should substantially lower rates in calculating the
 I0   lodestar. (Id. at 7 .) This argument is nonsensical. DFP produces no rational justification for
 11   why SDCC' s lawyers should not receive raises each year they progress within their fitm.
 12   Moreover, DFP's conclusory arguments, unsupported by evidence or case law, do not
 13   satisfy their burden of rebuttal.
 14         Next as to the paralegal rates, SDCC fails to provide any case law to support the
 15   rates of its paralegals and litigation support team members. 6 See Blum v. Stenson, 465 U.S.
 16   886, 895 n.ll (1984) ("To inform and assist the court in the exercise of its discretion, the
 17   burden is on the fee applicant to produce satisfactory evidence-in addition to the
 18   attorney's own affidavits-that the requested rates are in line with those prevailing in the
 19   community for similar services .... "). Nevertheless, the Court may consider SDCC's
20    declaration in addition to similar cases and its own knowledge and familiarity with the
21    Southern District of California legal market in setting a reasonable hourly rate. See Ingram
22    v. Oroudjian, 647 F.3d 925, 928 (9th Cir. 2011).
23          Reasonable rates for paralegals in this district have ranged from $125 to $225. See
24    In re Maxwell Techs., Inc., Derivative Litig., No. 13CV966 BEN (RBB), 2015 WL
25    12791166, at *5 (S.D. Cal. July 13, 2015) (awarding $225 paralegal rate to paralegals with
26
27
      6  For purposes of this Order, the Court will group SDCC's paralegals, legal analysts,
28    litigation support team members, and research specialists into one group.
                                                    26

                                                                                    14-cv-1865-A Ex. 2
                                                                                                 Ex. 26
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  1 "significant experience"); see also Flowrider Surf, Ltd. v. Pac Surf Designs, Inc., No.
  2   15cv1879-BEN (BLM), 2017 WL 2212029, at *2-3 (S.D. Cal. May 18, 2017) (awarding
  3 paralegal fees of$150 per hom in a patent infringement case); LG C01p. v. Huang Xiaowen,
  4   No. 16-CV-1162-JLS (NLS), 2017 WL 3877741, at *3 (S.D. Cal. Sept. 5, 2017) (finding
  5 reasonable a rate of $225 per hom for a paralegal with over twenty years of experience).
  6   At its highest, this district has approved a paralegal rate of $290.00. See In re Maxwell
  7   Techs., Inc., 2015 WL 12791166, at *5.
  8         Pillsbury is an American Lawyer Top 100 law finn with its IP litigation practice
  9   named in the Best Lawyers in America for 2017. (Doc. No. 425-3 ~ 17.) Thus, the Court
 10   does not dispute the quality of the work Pillsbury's paralegals provided. However, SDCC
 11   has failed to produce evidence to demonstrate that its paralegal rates of over $300.00 an
 12   hom are reasonable. Accordingly, taking into consideration Pillsbury's national and global
 13   presence, the Comt will cap SDCC's paralegal, legal analysts, and litigation support team
 14   members' hourly rates at $290.00-the high end of paralegal rates provided by this district.
 15   See Carr v. Tadin, Inc., 51 F. Supp. 3d 970, 981 (S.D. Cal. 2014) (listing paralegal rates
 16   that ranged from $110.00 to $295.00, but concluding that as rates of $125-$150
 17   predominated, a $150.00 per hour rate for paralegals was reasonable). The final award will
 18   be adjusted in light of the above mentioned modification.
 19         In sum, the Court finds SDCC's attomeys' rates in this case reasonable-these rates
20    were largely unopposed by DFP. The paralegals and litigation support team members with
 21   rates over $290.00 an hom will be capped at $290.00. The remainder ofthe paralegal rates
 22   that do not exceed $290.00 are considered reasonable.
23          ii. Hours Reasonably Spent
24          "The moving party bears the burden of documenting the appropriate hours spent in
 25   the litigation and submitting evidence in support of the hours worked." Zest IP Holdings,
 26   2014 WL 6851612, at *6. After the moving party provides evidence ofthe hours billed, the
 27   opposing party has the burden of submitting evidence "challenging the accuracy and
28    reasonableness of the hams charged or the facts asserted by the prevailing party in its
                                                  27

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  1 submitted affidavits." Gates, 987 F.2d at 1398. "Even if the opposing patiy has not objected
  2   to the time billed, the district court 'may not uncritically accept a fee request,' but is
  3   obligated to review the time billed and assess whether it is reasonable in light of the work
 4    perfonned and the context of the case." Rodriguez v. Ban-ita, Inc., 53 F. Supp. 3d 1268,
  5   1280 (N.D. Cal. 2014).
  6         Disttict courts have discretion to reduce the number of hours that were not
  7   reasonably expended. Hensley, 461 U.S. at 434. When determining whether the number of
  8   hours expended is reasonable, the following criterion may be taken into account, but each
  9   factor cannot be an independent basis to reduce hours: "(1) the novelty and complexity of
 10   the issues, (2) the special skill and experience of counsel, (3) the quality of representation,
 11   and (4) the results obtained." Cabrales v. Cty. of Los Angeles, 864 F .2d 1454, 1464 (9th
 12   Cir. 1988) (citation omitted),judgment vacated on other grounds by 490 U.S. 1087 (1989).
 13         SDCC requests all hours billed from the inception of this case to August 10,2018.
 14   (Doc. No. 527 ~~ 3, 4.) In analyzing reasonableness, the Comi first notes that DFP requests
 15   a deduction for quatier-hour billing. (Doc. No. 512 at 30.) Courts have recognized that
 16   billing by the quarter-hour, not by the tenth is a "deficient" practice "because it does not
 17   reasonably reflect the number of hours actually worked." See Zucker v. Occidental
 18   Petroleum Corp., 968 F. Supp. 1396, 1403 n.ll (C.D. Cal. 1997) (demonstrating that an
 19   attorney with a $300 hourly rate who works six minutes on a matter would charge $30 if
20    he bills by the tenth of an hour and $75 if he bills by the quarter hour). Due to this, courts
21    have reduced the fee award by a percentage to account for the unearned increment based
22    on quarter-hour billing. See Preseault v. United States, 52 Fed. Cl. 667, 680-81 (Fed. Cl.
23    2002). In the present case, the Court in its discretion reduces SDCC's attorneys' fee award
24    by twenty percent to account for the practice of billing by the quatier-hour. See Zest IP
25    Holdings, 2014 WL 6851612, at *10 n.2 (taking a 20% overall reduction in fees based on
26    quarter-hour billing).
27          DFP also briefly asserts that a reduction is appropriate as SDCC failed to delegate
28    tasks to staff or colleagues with lower billing rates. (Doc. No. 512 at 30-31.) The Court
                                                    28

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                                                                                                        P.28
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  1 disagrees. As SDCC's time sheet demonstrates, the senior attorneys such as Ms. Herrera,
  2   Ms. Bjurstrom, and Mr. Hahn were mainly in charge of researching and drafting the
  3   dispositive motions in this case as well as settlement and discovety matters. (Doc. No. 507
  4   at 23, 29.) It is only logical to have the more senior attorneys personally involved in these
  5   major parts of the litigation process. Moreover, the timesheet demonstrates that SDCC did
  6   in fact delegate other more basic legal tasks to associate attorneys with lower billing rates
  7   such as Lauren Wardle and Tim Rawson. (Doc. No. 507 at 102, 103, 105, 159, 163.)
  8         The Comi notes however that it finds that some tasks were not properly delegated
  9   amongst SDCC's paralegal and litigation suppmi team members. For example, on June 7,
 10   2017, John Farahjood was given the task of printing redacted PDF files. Printing files is
 11   not a reasonable use of a litigation support specialist who has a rate of $305.00 an hour.
 12   (Doc. No. 507 at 122 (see Banas v. Volcano Corp., 47 F. Supp. 3d 957, 970 (N.D. Cal.
 13   Dec. 12, 2014).) Thus, a reduction in the final lodestar amount is wananted.
 14         Finally, DFP spends a sentence broadly concluding that SDCC's task descriptions
 15   are highly general and frequently redacted and therefore wanant closer scrntiny. (Doc. No.
 16   512 at 30.) First, as to the redactions, "[a] patiy seeking fees may redact certain portions of
 17   the relevant time entries when doing so is necessary to protect the attorney client privilege,
 18   so long as the uuredacted portions still afford[] the Court sufficient detail to detennine the
 19   reasonableness of the hours requested." Shame on You Productions, Inc. v. Banks, CV 14-
20    03512-MMM (JCx), 2016 WL 5929245, at *16 (C.D. Cal. Aug. 15, 2016) (citation and
 21   internal quotation marks omitted).
22          The Court notes that there are cetiain time entries that have been so heavily redacted
23    that the Comi catmot assess the reasonableness of the time expended. For example on
24    August 6, 2017, Michelle Herrera stated "Research regm·ding [REDACTED]." (Doc. No.
25    507 at 150.) This type of redaction has resulted in courts declining to award fees as to those
 26   heavily redacted billing entries. See Shame on You Productions, 2016 WL 5929245, at* 16.
27    However, in the instant matter, SDCC redacted time entries, but also made the entries
28    available to the Court for in-camera review. (Doc. No. 425-3 '\[ 23.) Thus, DFP's attack on
                                                    29

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  1 SDCC's redacted time entries fails. See Vogel v. Tulaphorn, CV 13-464 PSG (PLAx), 2014
  2   WL 12629679, at *10 (C.D. Cal. Jan. 30, 2014) (refusing to reject the defendant's request
  3   for fees as it willingly stated that it could provide the redacted entties for in-camera
  4   review); see also R.M v. Encinitas Union Sch. Dist., No. 08cv412-L (JMA), 2013 WL
  5   3873069, at *3 (S.D. Cal. July 25, 2013) (conducting an in-camera review of the
  6   defendant's invoice to determine reasonableness).
  7          Next, as to DFP's assetiion that the time entries are too general, the Court agrees in
  8 part. Though, SDCC's counsel "is not required to record in great detail how each minute
  9   of his [or her] time was expended," Lytle v. Carl, 382 F.3d 978, 989 (9th Cir. 2004), a
 10   cetiain amount of specificity is required. Presently, some entries are incredibly vague. For
 11   instance, there are several entt·ies that simply state in some form: "Assist with review
 12   project." (Doc. No. 507 at 121, 122, 124, 136.) Additionally, on October 28,2016, the time
 13   entty states: "Call with S. Edge regarding additional documents for review and review
 14   plan," (Jd. at 61), and on November 29, 2016, the nanative described states: "Document
 15   review," (Id. at 67). This is a billing deficiency that justifies a reduction.
 16         In that same vein the Comi also reduces the amount of hours SDCC requests for
 17   duplicative attorney effort. Although it has been recognized that "the participation of more
 18   than one attorney does not necessarily constitute an unnecessary duplication of effort[,] see
 19 McGrath, 67 F.3d at 255, the Comt believes that certain hours were not reasonably
20    expended. For example in July of 2017, Mr. Hahn, Ms. Herrera, and Mr. Smith all took
21    turns revising a sanctions motion. (Doc. No. 507 at 136.) Similarly, in that same month,
22    Mr. Hahn, Mr. Smith, Mr. Stephens, Ms. Bjurstrom, and Ms. Henera all billed for
23    reviewing the opposition brief to DFP's motion for leave to amend the pleading. (Jd. at
24    140.) Thus, another reduction in the lodestar figure is appropriate. See Mogck v. Unum Life
25    Ins. Co. of Am., 289 F. Supp. 2d 1181, 1195 (S.D. Cal. 2003) (finding a reduction offees
26    reasonable as both attorneys billed for reviewing the defendant's objection and two
27    attorneys billed for reviewing the Ninth Circuit opinion in the case); see also Hensley, 461
28    U.S. at 432-34 (holding that counsel submitting fee applications must exclude hours that
                                                     30
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  1 are "excessive, redundant, or othetwise unnecessary[.]"); AT&T Mobility LLC v. Yeager,
  2      No. 2:13-cv-00007 KJM DB, 2018 WL 1567819, at *2 (E.D. Cal. Mar. 30, 2018)
  3      (highlighting that the court has broad discretion to adjust the lodestar fee downward if it
  4      concludes the attorneys perfmmed work that was excessive or duplicative).
  5             Finally, the Court addresses the arguments present in DFP's response to SDCC's
  6      supplemental brief. (Doc. No. 532.) Finding that most ofDFP's qualms have already been
  7      addressed above, the Court focuses solely on the assertion that a reduction is justified based
  8      on overstaffing. (!d. at 4.) Here, the Comi agrees with DFP that SDCC's decision to send
  9      three lawyers to the post-trial motion hearing is an unreasonable use of time. As Mr. Hahn
 10      did not actively participate atthe hearing, the Court will not award Mr. Hahn's fees totaling
 11      $3,532.50 in relation to this matter. (Doc. No. 527-1 at 15.)
 12            In sum, the Court reduces SDCC's fee request by 20% for quarter-hour billing.
 13      Additionally, based on the other billing deficiencies delineated above, an additional 5%
·14      reduction is wan·anted as well as a reduction of $3,532.50 for overstaffing. As to the
 15      remainder of the hours, after an in-camera review, the Court finds the billed hours are well
 16      within the bounds of reason and include sufficient descriptions reflecting the date, amount,
 17      and nature of the work SDCC's attomey's performed. See LG Cmp., 2017 WL 3877741,
 18      at *4. Thus, the Court finds no further deduction necessary based on the nature and context
 19      of the case, quality of the representation, and result obtained.
20             iii.   Lodestar Calculation
21       Table 1: Hourly
         Rates
22
         2014
23       Timekeeper                Hourly Rate Billed       Hourly Rate           Time Billed
24                                                          Awarded
25       Bjurstrom, Callie A.      $675.00                  $675.00               24.05 hours
26       Hahn, Peter K.            $675.00                  $675.00                89 hours
27       Henera, Michelle A.       $525.00                  $525.00               41.20 hours
28
                                                       31

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  1       Drake, Colin B.         $275.00              $275.00           0.50 hours
  2       Edge, Sandra V.         $285.00              $285.00           19.25 hours
  3
  4       Table 2: Hourly
  5       Rates
          2015
  6       Timekeeper              Hourly Rate Billed   Hourly Rate       Time Billed
  7                                                    Awarded
  8       Bjurstrom, Callie A.    $705.00              $705.00           24 hours
  9       Gallacher, Kirsten F.   $385.00              $385.00           10.25 hours
 10       Hahn, Peter K.          $705.00              $705.00           174 hours
 11       Herrera, Michelle A.    $550.00              $550.00           72 hours
 12       Drake, Colin B.         $290.00              $290.00           5.25 hours
 13       Edge, Sandra V.         $295.00              $290.00           21.50 hours
 14
 15
         Table 3- Hourly
 16      Rates
         2016
17
         Timekeeper               Hourly Rate Billed   Hourly Rate       Time Billed
18
                                                       Awarded
19
         Bjurstrom, Callie A.     $735.00              $735.00           93.25 hours
20
         Gallacher, Kirsten F.    $480.00              $480.00           98.75 hours
21
         Hahn, Peter K.           $735.00              $735.00           480.75 hours
22
         Henera, Michelle A.      $565.00              $565.00           229.50 hours
23
         Stanton, David           $765.00              $765.00           0.25 hours
24
         Drake, Colin B.          $295.00              $290.00           16.50 hours
25
         Edge, Sandra V.          $305.00              $290.00           172.50 hours
26
         Trinidad, Val            $295.00              $290.00           6.25 hours
27
28

                                                  32

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  1    Table 4-Hourly
       Rates
  2
       2017
  3    Timekeeper            Hourly Rate Billed Hourly Rate         Time Billed
  4                                               Awarded
  5    Bjurstrom, Callie A. $760.00               $760.00           1085 hours
  6    Chevalier, Andrew     $110.00              $110.00           85.25
  7    Civins, Conor M.      $608.16              $608.16           283.7 5 hours
  8    Collier, William E.   $110.00              $110.0            167.50 hours
  9    DiCarlo, Carl         $110.00              $110.00           205.50 hours
 10    Gallacher, Kirsten    $545.00              $545.00           119 hours
 11    F.
 12    Hahn, Peter K.        $760.00              $760.00           1422.75 hours
 13    Herrera, Michelle A. $585.00               $585.00           967.55 hours
 14    McDonough,            $110.00              $110.00          88.25 hours
 15    Benton
 16    McNair, Wilton A.     $110.00              $110.00          85.75 hours
 17    Porter, Allison       $110.00              $110.00          69 homs
 18
       Prewitt, Candes V.    $110.00              $110.00          81.75 hours
 19
       Rawson, P.E., Tim     $485.35              $485.35          50.25 hours
 20
       Romeo, Jennifer R.    $110.00              $110.00           123 .25 hours
21
       Sims, Kelly J.        $110.00              $110.00          184.75 hours
22
       Smith, Nathaniel R.   $578.42              $578.42          45.00 hours
23
       Stanton, David        $790.00              $790.00          12.75 hours
                                                                                          .

24
       Stephens, Matthew     $545.00              $545.00          200.75 hours
25
      R.
26
      Villalobos, Jenny R. $110.00                $110.00          167.25 hours
27
      Wardle, Lamen E.       $560.00              $560.00          145.45 hours
28

                                             33

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  1    Wooden, Eboni T.       $110.00               $110.00           141.75 hours

  2    Yeaman, Calmnn I.      $110.00                   $110.00       98.75 hours

  3    Barnes, Stacey         $335.00               $290.00           5 hours
  4    Bridges, Martin        $425.00               $290.00           1 hour
  5    Brooks, Thomas         $305.00                   $290.00       1 hour
  6    Campbell, Stacey       $285.00                   $285.00       7.25 hours
  7    Drake, Colin B.        $305.00               $290.00           89 hours
  8    Edge, Sandra V.        $315.00               $290.00           1,195.75 hours
  9    Farahjood, John        $305.00                   $290.00       17 hours
 10    Gartman, Cody A.       $245.00                   $245.00       224.80 hours
 11    Moffat, Gordon         $390.00                   $290.00       15.75 hours
 12    Monan·ez, John D.      $150.00               $150.00           12.75 hours
 13    Ng, Patrick            $305.00                   $290.00       0.50 hours
 14                           $295.00                   $290.00       120.25 hours
       Perez, Louie
 15                           $300.63                   $290.00       151 hours
       Trinidad, Val
 16                                                     $290.00       18.75 hours
       Vugrinecz,          J. $299.42
 17
       Anthony
 18
 19
       Table 5-Hourly
 20    Rates
       2018
 21
       Timekeeper             Hourly Rate Billed        Hourly Rate   Time Billed
 22
                                                        Awarded
 23
       Bjurstrom, Callie A.   $795.00                   $795.00       221.70 hours
 24
       Civins, Conor M.       $675.00                   $675.00       14.25 hours
 25
       Hahn, Peter K.         $785.00                   $785.00       221 hours
 26
       Herrera, Michelle A. $605.00                     $605.00       330.30 hours
 27
       Wardle, Lauren E.      $615.00                   $615.00       120.75 hours
 28
                                                   34

                                                                           14-cv-1865-AJB-TIV EX. 2
                                                                                              p,   34
Case 3:18-cv-02877-AJB-MSB Document 37-1 Filed 09/10/19 PageID.2830 Page 46 of 110

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  1    Edge, Sandra V.       $325.00                   $290.00             143.95 hours
  2    Monarrez, John D.     $300.00                   $290.00             0.25 homs
  3
  4         SDCC requests $4,994,245.20 in attomeys' fees and costs. (Doc. No. 527 ~ 5.) The
  5   Comt notes however, that the lodestar number based off of the declarations provided by
  6   SDCC is $5,278,438.88. This discrepancy is due to tbe fact that the lodestar number does
  7   not include courtesy discounts that occUlTed in March 2017 ($11,000), April 2017
  8   ($30,000), May 2017 ($30,000), June 2017 ($50,000), July 2017 ($20,000), August 2017
  9   ($25,000), September 2017 ($25,000), October 2017 ($30,000), November 2017
 10   ($55,000), December 2017 ($20,000), January 2018 ($10,000), and Febmary 2018
 11   ($10,000). In total, SDCC provided $316,000 in courtesy discounts. Subtracting the
 12   courtesy discounts, the new lodestar number is 4,962,438.88. After the 20% reduction for
 13   quarter-hom billing, tbe 5% reduction for other billing deficiencies, and the $3,532.50 for
 14   overstaffing, the final1odestar number is $3,767,921.06.
 15         iv.   Expert Costs
 16         The Lanham Act provides tbat " [w ]hen a violation of any right of the registrant of a
 17   mark registered in the Patent and Trademark Office ... have been established in any civil
 18   action ... tbe plaintiff shall be entitled to ... (3) the costs of the action." 15 U.S.C. §
 19   lll7(a). Under Federal Rule of Civil Procedure 54, costs otber than attorney's fees may
 20   be allowed to tbe prevailing party unless a federal statute or a court order provides
 21   othetwise. Fed. R. Civ. P. 54(d)(l).
 22         SDCC seeks to recover certain non-taxable costs. Specifically, SDCC requests
 23   $243,833.06 that SDCC paid to its two experts: Matthew G. Ezell and Patrick Kennedy,
 24   along with their assistants. (Doc. No. 425-3 ~ 24.) DFP does not oppose tbis request. (See
 25   generally Doc. No. 512.)
 26         Ms. Bjurstrom's declaration delineates the various benefits and advantages provided
 27   by both expetis. For instance, Mr. Ezell conducted the Teflon Survey tbat addressed the
 28   primaty significance of"Comic-Con" to the public. (Doc. No. 425-3 ~ 25.) Additionally,
                                                  35
                                                                                                     Ex. 2
                                                                                 14-cv-1865-AJB-Jl
                                                                                                     P.35
Case 3:18-cv-02877-AJB-MSB Document 37-1 Filed 09/10/19 PageID.2831 Page 47 of 110

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  1 Mr. Ezell performed substantive research and helped analyze and develop a response to the
  2   report prepared by DFP's expert Jeffrey Kaplan. (Id.) As to Mr. Kennedy, he was hired to
  3   assess SDCC's damage remedies and also prepared and submitted a detailed expert report
  4   and supplemental rep01i. (Id.   ~   26.) Both experts' invoices were provided to the Comt.
  5   (Doc. No. 425-6.)
  6         It is clear from the record that Mr. Ezell's work was critical to SDCC's ultimate
  7   success in the action-specifically to its trademark infringement claim. Thus, given the
  8   reliance on Mr. Ezell and his survey, his fee of $92,323.56 for his work in connection with
  9   this matter was reasonably necessary for the prosecution of SDCC's case. See SAS v.
 10   Sawabeh Info. Servs. Co., No. CV 11-04147 MMM (MANx), 2015 WL 12763541, at *35
 11   (C.D. Cal. June 22, 2015.) The Court will thus award $92,323.56 in costs.
 12         In comparison, Mr. Kennedy's necessity is less clear. Though he testified to various
 13   important financial matters, his conective advertising report stating that a brand repair
 14   program would cost $9.62 million was not well-received by the jury as evidenced by the
 15   jury award of only $20,000. (Doc. No. 234-1 at 22; Doc. No. 395 at 8.) Based on the
 16   foregoing, the Court in its discretion, advances only $120,000.00 instead of$151,509.50
 17   as costs to cover Mr. Kennedy's expenses. (Doc. No. 423-3 ~ 26 (see Brighton Collectibles,
 18   LLC v. Believe Production, Inc., No. 2:15-cv-00579-CAS (ASx), 2018 WL 1381894, at *5
 19   (C.D. Cal. Mar. 15, 2018)).)
20          Accordingly, the Court awards SDCC $212,323.56 to cover the costs of its two
21    experts. See Lanyard Toys Ltd. v. Novelty, Inc., No. CV 05-8406-GW (JWJx), 2008 WL
22    11333941, at *21 (C.D. Cal. Mar. 18, 2008) (explaining that the district courts "may award
23    otherwise non-taxable costs ... ") (citation omitted).
24                                           CONCLUSION
25           The Cou1i has exhaustively and carefully considered the totality of the
26    circumstances in this case. Having done so, the Court finds that this case stands out when
27    compared to run of the mill trademark infringement cases. Accordingly, in its discretion,
28
                                                    36
                                                                                  14-cv-1865-AJB-JM Ex. 2
                                                                                                    p.36
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  1 finding this case "exceptional" pursuant to 15 U.S.C. § 1117(a), SDCC as the prevailing
  2   party is awarded attomeys' fees and costs subject to the deductions listed above.
  3         It is accordingly ORDERED that SDCC is awarded attorneys' fees and costs
 4    totaling $3,962,486.84. 7 This award includes $3,767,921.06 in attomeys' fees and
  5   $212,323.56 in expert costs. The Clerk of Court must enter judgment for SDCC and against
  6   DFP, and each of them, in this amount, as well as the $20,000 awarded by the jury, in this
  7   case. The Clerk of Comi is also directed to issue the permanent injunction. As no issues
  8   remain, the Clerk is instructed to CLOSE the docket of this case. Accordingly, SDCC's
  9   motion for attomeys' fees and costs is GRANTED IN PART AND DENIED IN PART.
 10
 11   IT IS SO ORDERED.
 12
 13   Dated: August 23, 2018
 14                                              Hon. Anthony J. attaglia
 15                                              United States District Judge
 16
 17
 18
 19
20
21
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24
25
      7 The Court notes that the final award was adjusted by deducting $17,7 57.78 in attomeys'
26    fees that were awarded to SDCC and paid by DFP in relation to DFP's unsuccessful motion
27    for sanctions. (Doc. Nos. 484, 522; Doc. No. 532 at 3.) The Court disagrees with DFP that
      the award should be reduced by $23,238, which is the amount SDCC initially requested.
28    (Doc. No. 532 at 3.)
                                                  37

                                                                                14-cv-1865-AID-Jl Ex. 2
                                                                                                  p.37
Case 3:18-cv-02877-AJB-MSB Document 37-1 Filed 09/10/19 PageID.2833 Page 49 of 110




                           EXHIBIT 3
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  7

  8
                               UNITED STATES DISTRICT COURT
  9
                            SOUTHERN DISTRICT OF CALIFORNIA
 10

 11   BRYAN VESS, on behalf of himself         )   Civil No.!Ocv0920 AJB (WVG)
      and all others similarly situated,
 12
                         Plaintiff,
                                               ~   CLASS ACTION

 13

 14
      v.
      BANK OF AMERICA, N.A.; and
      DOES 1 through 50, inclusive,
                                               i
                                               )
                                               )
                                                   FINAL ORDER APPROVAL CLASS
                                                   ACTION SETTLEMENT


 15                                            )
                         Defendants.           )
 16   ___________                              )
 17         On October 24, 2013, this Court heard PlaintiffB1yan Vess' motion for final
 18   approval of the proposed class action settlement (Dkt. No. 78) and motion for attomeys'
 19   fees, costs, and incentive award (Dkt. No. 76). This Court reviewed: (a) the motions and
 20   the supporting papers, including, the Settlement Agreement; (b) documents filed or
 21   presented to the Court as objections (Dkt. Nos. 53-56,58-61,63-72,75, 77); (c)
 22   responses to the objections (Dkt. No. 80); and (d) counsels' oral arguments. Based on
 23   this review and the findings below, the Court found good cause to grant ilie motion.
 24 FINDINGS:
 25         1.    Proper Jurisdiction. This Court has jurisdiction over the subject matter of
 26   this Action, all parties to the Action, and all class members who have not timely and
 27   validly requested exclusion
 28


                                                   1                                         l0cv0920

                                                                                                        Ex. 3
                                                                                                         P. 1
Case 3:18-cv-02877-AJB-MSB Document 37-1 Filed 09/10/19 PageID.2835 Page 51 of 110
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  1          2.     Adequate Performance. The parties adequately performed their obligations
  2   under the Settlement Agreement to date.
  3          3.     Notice Disseminated. Defendant Bank of America, N.A. provided direct
  4   notice to class members via first-class mail, postage pre-paid, in compliance with
  5   paragraph 5 of the Settlement Agreement, due process, and Rule 23 of the Federal Rules
  6 of Civil Procedure. The notice: (i) fully and accurately infmmed class members about
  7   the lawsuit and settlement; (ii) provided sufficient infmmation so that class members
  8   were able to decide whether to accept the benefits offered, opt-out and pursue their own
  9   remedies, or object to the proposed settlement; (iii) provided procedures for class
 10   members to file written objections to the proposed settlement, to appear at the hearing,
 11   and to state objections to the proposed settlement; and (iv) provided the time, date, and
 12   place ofthe final fairness hearing, which the Court subsequently changed (Dkt. No. 74).
 13          4.     Certification Requirements Satisfied. For the reasons stated in the order
 14   granting preliminary approval of class action settlement and provisional class certifica-
 15   tion (Dkt. No. 51), and having found nothing that would disturb these previous findings,
 16   this Court finds and detennines that the proposed class, as defined below, meets all of
 17 the legal requirements for class certification, for settlement purposes only, under Federal
 18   Rule of Civil Procedure 23(a) and (b)(3).
 19          5.    Fair Settlement Upon review of the record pursuant to the factors identi-
 20   fied in Officers for Justice v. Civil Serv. Commission, 688 F.2d 615, 625 (9th Cir. 1982)
 21   and Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir. 1998), the Court finds that
 22   the Settlement Agreement has been entered into in good faith and is fair, reasonable,
 23   adequate, and in the class' best interest. The Settlement Agreement fully complies with
 24   the Federal Rules of Civil Procedure, the Rules ofthe Court, due process, and any other
 25   applicable law. As to the determination that the Settlement Agreement is fair, reason-
 26   able, and adequate, the Comi notes that (a) whether the outcome on the merits would
 27   result in a ruling in Plaintiffs and the class' favor is uncertain; (b) the pmiies conducted
 28   sufficient discovery; (c) the Settlement Agreement was reached through negotiations


                                                    2                                         IOcvO~


                                                                                                       Ex. 3
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  1   with experienced ~md infonned counsel; (d) the consideration provided to the class
  2   reflects benefits to the class; and (e) less than a fraction of one percent of the class
  3   objected to the settlement.
  4          6.    Proper Negotiations. The Court also finds that extensive arm's-length
  5   negotiations have taken place, in good faith and free from collusion between class
  6   Counsel and Defendant's Counsel. Parts ofthese negotiations were presided over by a
  7   mediator, Bmce A. Friedman, Esq.
  8         7.     Reasonable Attomeys' Fees m1d Costs. An award of $700,000 in attorneys'
  9   fees and costs to Class Counsel is fair and reasonable in light of the nature ofthis case,
 10   Class Counsel's experience and efforts in prosecuting this Action, and the benefits
 11   obtained for the class.
 12          8.    Reasonable Incentive A ward. An incentive award of $7,500 to Plaintiff
 13   Btyan Vess is fair and reasonable in light of: (a) Plaintiffs respective risks (including
 14   financial, professional, and emotional) in commencing this action as the Class Represen-
 15   tative; (b) the time and effort spent by Plaintiff in litigating this action as the Class
 16   Representative; and (c) Plaintiffs public interest service.
 17          9.    Non-Persuasive Objections. The objectors' arguments do not preclude
 18   approval of the settlement and are ovenuled. Twenty documents (for 22 class members)
 19   were filed as objections. Five documents were mislabeled as objections. Five docu-
 20   ments were facially invalid because they failed to provide any legal and factual basis for
 21   an objection, and instead expressed fmstrations over individual dealings with BANA
 22   (e.g. refusal of loan modification or loa11 forgiveness and personal hardship), which do
 23   not affect the settlement's terms or benefits. The remaining ten objections challenged the
 24   equitable value of the relief provided, a11d the mechanism for ensming compliance. The
 25   Court, however, finds that the settlement provides valuable equitable relief to the class
 26   and has sufficient mechanisms for ensuring compliance.
 27   IT IS ORDERED THAT:
 28


                                                     3                                            10cv0920

                                                                                                             Ex. 3)
                                                                                                             P.   3/
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      I          1.     Class. The class is defined as:
  2                     All Bank of America customers in the United States that cur-
                        rently have open HELOC Accounts that were suspended or
  3                     reduced dming the period fi·om January 1, 2008 to April29,
                        2010 based on Banic of America's claim that the property secur-
  4                     ing the HELOC had significantly declined in value. Excluded
                        fi·om the class are the Judges presiding over this case and any
  5                     of their employees or immediate famiry members.
  6
                 2.    Binding Effect of Order. This order applies to all claims or causes of action
  7
          settled under the Settlement Agreement, and binds all class members, including those
  8
          who did not properly request exclusion under paragraph 6 of the preliminary approval of
  9
          class action settlement and provisional class cetiification Order. This order does not
 10
          bind persons who filed timely and valid Requests for Exclusions. At the hearing,
 II
          Plaintiff's Counsel submitted an updated list of persons who properly requested to be
 12
          excluded from the settlement. The list was accepted an evidence and will be docketed as
 13
          Plaintiff's Exhibit l to the hearing. Plaintiffs Exhibit l will supersede the previouslt
 14
          submitted Exhibit A in these regards.
 15
                 3.    Release. Plaintiff and all class members who did not properly request
 16
          exclusion are: (1) deemed to have released and discharged Defendant from all claims
 17
          arising out of or asserted in this action and all claims released under the Settlement
 18
          Agreement; and (2) barred and permanently enjoined from asserting, instituting, or
 19
          prosecuting, either directly or indirectly, these claims. The full tenus of the release
 20
          described in this paragraph are set fotih in paragraph 4 of the Settlement Agreement.
 21
                4.     Benefits for the Proactive Reinstatement Group. Per the settlement,
 22
          Defendant will proactively offer patiial or full accormt reinstatement, under its current
 23
          reinstatement and underwriting guidelines, to a subset group of class members. Defen-
 24
          dant will notify this group about the reinstatements as provided in the Settlement
 25
          Agreement.
 26
                5.     Benefits for the Qualifying Accormts Group. No later than 90 days after
 27
          entry of this Order, but without limitation to Defendant mailing letters prior to this date,
 28
          Defendant will send the Notice of Right to Request Reinstatement letters, substantially

                                                          4                                         10cv0920

                                                                                                               Ex. 3
                                                                                                               P.4
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   1   similar to the form attached to the Settlement Agreement as Exhibit C.3 to class members
   2   with accounts deemed to be Qualifying Accounts, as the tennis defined in the Settlement
   3   Agreement, and who will not receive the proactive reinstatement letters, i.e., Exhibit C.l
   4   or Exhibit C.2. Qualifying Accounts is defined to mean HELOC accounts that do not
   5   meet any of the following criteria:
   6         a.     The seeming property has a Combined Loan to Value Ratio over 100
                    percent;
   7
             b.     BA~A's   AVM shows 75 percent or greater reduction securing property's
   8                eqmty;
   9         c.     Any bonower has a FICO score less than 640;
 10          d.     Any bonower has been delinquent on HELOC payments within the prior 12
                    months;
  11
             e.     Any borrower has completed or is in negotiation for a home equity or first
  12                mortgage workout (short sale, deed in heu, foreclosure, etc.);
 13          f.     Any borrower has been declined for reinstatement within the last 6 months;
 14          g.     Any bonower is currently past due on his/her HELOC payments;
 15          h.     The initial draw period on the HELOC will expire within 6 months of the
                    date the Notice of Right to Request Reinstatement letter is sent; or
 16
             l.     Any named bonower is subject to marketing restrictions, such as do not
 17                 sohcit request~, is subject to a bankruptcy proceeding, or is in litigation
                    regarding the rtELOC Account.
 18

 19    The letter will infonn the group that BANA will review their accounts for full or patiial
 20    reinstatement if they complete and return (within 30 days of the date the Notice of Right
 21    to Request Reinstatement Letter is sent) an enclosed Request for Reinstatement fmm and
 22    explain why their property has not significantly declined in value. If a class member
 23    elects to be considered for reinstatement through this process, he/she agrees to waive any
 24    notice required under the Fair Credit Reporting Act or state equivalents attendant with
 25    the relief contemplated under the Settlement Agreement. Utilization of this method of
 26 review does not otherwise affect a class member's rights under any applicable statutes.
 27          6.    Benefits for the Non-Qualifying Accounts Group. Class members without
 28    Qualifying Accounts will have the right to request BANA to review their accounts for


                                                    5                                        10cv0920


                                                                                                        Ex. 3   1
                                                                                                         P. 5   I
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      ase 3:10-cv-00920-AJB-WVG Document 84 Filed 10/24/13 Pagel0.1020 Page 6 of 7



  1   full or partial reinstatement. The procedures for making that request were provided in
  2   the court-approved Class Notice and modified by the Court's Order Granting the Parties'
  3   Joint Motion to Extend Deadlines (Dkt. No. 74). BANA will accept requests submitted
  4   untill20 days after entty ofthis Order. These class members will not be sent a Notice of
  5   Right to Request Reinstatement letter (Exhibit C.3). Any class member who timely
  6   requests reinstatement of a non-Qualifying Account shall be afforded the same review as
  7   class members' with Qualifying Accounts, i.e., Defendant will consider the Request for
  8 Reinstatement Review according to Defendant's then current underwriting guidelines.
  9         7.     Enhanced Suspension Notice Benefit. For at least 3 years after the Effective
 10 Date, Defendant will maintain a toll-free phone number that customers can call to
 11   request the valuation Defendant placed on the securing property. Defendant also will
 12   include this number in its HELOC suspension and reduction notices for suspensions and
 13   reductions based on a significant decline in property value.
 14         8.     Enhanced Valuation Method Benefit. For HELOC Accounts of$250,000 or
 15   more, Defendant will utilize an additional valuation methodology in determining the
 16 value of the property or dwelling securing the HELOC Accounts where the AVM does
 17 not support a partial or full reinstatement.
 18         9.    Attorney's Fees and Costs. Class Counsel is awarded $700,000 in fees and
 19   costs. Defendant must pay Class Counsel this amount to Patterson Law Group, APC
 20   within the timeline set forth in the Settlement Agreement.
 21         10.   Calculation of Attomeys' Fees. The Court used the lodestar method to
 22   calculate the attorneys' fees award. The Comt finds that Class Counsel's hours and
 23   expenses were reasonable. The Court did not apply a multiplier because the requested
 24   amount of attomeys' fees and costs was less than Class Counsel's base lodestar.
 25         11.   Incentive Award. Plaintiff Bryan Vess is awarded $7,500 as an incentive
 26   award. Defendant must pay Plaintiff this amount within the timeline set forth in
 27   paragraph 8.4 of the Settlement Agreement.
 28


                                                   6                                       10cv0920


                                                                                                      Ex. 3   j

                                                                                                      P. 6[
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  1            12.   Objections Overruled. The objections are overruled for the reasons stated
  2   above.
  3            13.   Appellate Bond. Pursuant to Rule 7 of the Federal Rules of Civil Proce-
  4   dure, in a civil case, the district court may require an appellant to file a bond or provide
  5   other security in any fonn and amount necessaty to insure that any appellants have the
  6 ability to pay Plaintiffs costs and fees should opposing an appeal be necessary. See
  7   A&M Records, Inc. v. Napster, Inc., 239 F.3d 1004, 1028 (9th Cir. 2001); See also Fed.
  8   R. App. P. 7 ("Rule 7"). The Court orders that a $15,000 bond must accompany an
  9 appeal of this Order.
 10            14.   Court's Jurisdiction. Pursuant to the parties' request, the Court will retain
 11   jurisdiction over this action and the parties until final performance of the Settlement
 12   Agreement.
 13         IT IS SO ORDERED.
 14

 15   DATED: October 24,2013
 16

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                                                                                                          Ex.3
                                                                                                          p. 7
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                           EXHIBIT 4
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           Facsimile: (619) 756-6991
       6
           Attorneys for Plaintiff and the Class
       7

       8

       9
                                UNITED STATES DISTRICT COURT
      10
                             SOUTHERN DISTRICT OF CALIFORNIA
      11

      12   BRYAN VESS, on behalf of himself and CASE NO.: 3:10-cv-00920 AJB(WVG)
           all others similarly situated,
      13
                              Plaintiff,               CLASS ACTION
      14
                 vs.                                   DECLARATION OF ALISAA.
      15                                               MARTIN IN SUPPORT OF IN
           BANK OF AMERICA, N.A.,                      SUPPORT OF MOTION FOR
      16                                               ATTORNEYS' FEES, COSTS, AND
                              Defendants.              INCENTIVE AWARD
      17
                                                       DATE: 0CTOBER24,2013
      18                                               TIME: 2:00P.M.
                                                       JUDGE: HON. ANTHONY J. BATTAGLIA
      19                                               COURTROOM: 12

      20

      21
      22
      23

      24

      25
      26

      27

      28

           MARTIN DECL. ISO MOTION FOR ATTORNEYS' FEES, COSTS,
           AND INCENTIVE AWARD                                                            Ex.4
                                                                                          P. 1
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            I, Alisa A. Mmiin, declare as follows:
        2          1.     I am a member of the bar of the State of Califomia and a senior
        3   attomey of Patterson Law Group, attomeys for Plaintiff Bryan Vess. I make this
        4   declaration in suppoti of Plaintiffs motion for attomeys' fees, costs, and incentive
        5   award. If called as a witness, I would and could testify to the following:
        6                                          Settlement
        7          1.     Attached as Exhibit 1 is a true and cotTect copy of the Settlement
        8   Agreement.
        9                      Briefing, Discovery, Mediation, and Settlement
       10          2.     We briefed oppositions to two motions to dismiss. We amended the
       11   complaint. We engaged in focused and thorough discovery. Our efforts included:
       12   exchanging numerous documents; interviewing witnesses; researching various
       13   issues and laws; preparing a damages analysis and policy changing framework;
       14   analyzing similar case settlements; and reviewing and analyzing documents
       15   produced. We also confe1Ted with expe1is.
       16          3.     We engaged in initial settlement discussions early on in the case.
       17   During these discussions, among other things, we discussed the legal landscape
       18   with respect to HELOC cases against other banks, BANA's policies and
       19   procedures for suspending and reducing HELOCs, as well as their respective views
      20    on the instant litigation.
      21           4.     On September 5, 2012, following a full-day of mediation before Bruce
      22    A. Friedman, Esq., an experienced mediator, the pa1iies settled the lawsuit in
      23    principal. Over the following monfus, the patties continued to negotiate, at at1llS-
      24    length, the remaining te1ms of the preliminarily approved settlement.
      25                                 Post-Preliminary Approval Work
      26           5.     Following preliminary approval, notice was sent to the class members.
      27    Since that time, we received thousands of inquires including telephone calls,
      28    emails, and letters from class members regarding the nature of the litigation and

                                                      -1-
            MARTIN DECL. ISO MOTION FOR ATTORNEYS' FEES, COSTS,
            AND INCENTIVE AWARD                                   3:10-CV-00920-AJB-WVG            Ex. 4]
                                                                                                   p.   2J
Case 3:18-cv-02877-AJB-MSB Document 37-1 Filed 09/10/19 PageID.2844 Page 60 of 110

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       1   the meaning of the settlement te1ms and seeking advice with respect to how to
       2   proceed. We worked diligently to promptly address each and eve1y inqui1y, which
       3   writing letters and returning telephone calls. We even hired additional employees,
       4   including a Spanish speaker, to assist with this task.      We continue to respond to
       5   inquiries and anticipate that it will continue to do so well after final approval.
       6            6.    To complete this case, we must continue to respond to inquiries from
       7 class members about the settlement, prepare this attorneys' fee motion, prepare the
       8   final approval papers, prepare for the final approval healing, prepare a response to
       9 the objections filed, and attend the final approval healing. We also must spend
      10   additional hours addressing any post final approval issues, including overseeing all
      11   subsequent notices and mailings by BANA following final approval, respond to
      12   additional inquires from class members, and respond to any appeal issues
      13                           Class Size and Settlement Acceptance
      14            7.    Defendant Banlc of America, N.A. ("BANA") represented to our flflll
      15   that notice was mailed to 383,354 class members.
      16            8.    To date, 14 class members objected to the settlement and 93 requested
      17   to be excluded fi·om the settlement.
      18                                            Time
      19            9.    We had to turn down other work to properly and comprehensively
      20   perform the job required of this case and prepare for all contingencies that may
      21   arise.
      22            10.   The below chart summarizes our work hours and billing rates. My
      23   time is designated "AAM," Mr. Patterson's time is designated "JRP," and Mr.
      24   Kaatz' time is designated "JK."
      25   II I
      26
      27

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           MARTIN DECL. ISO MOTION FOR ATTORNEYS' FEES, COSTS,                                  Ex. 4   I
           AND INCENTIVE AWARD                                    3: I 0-CV -00920-AJB-WVG
                                                                                                 p.3/   I
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       I           GENERAL DESCRIPTION I HOURS                          RATE        LODESTAR
       2                                           34 hrs (AAM)         $575       $19,550
              1.Pre-Filing Tasks:
       3             Conducts client and           29 hrs (JRP)         $675       $19,575
                    witness meetin:fs;
       4            performed lega research
                     and analysis; reviewed
       5             client documents; drafted
                     com laint.
       6                                                                $575       $8,797.50
             2. Post Filing Pleading               15.3 hrs (AAM)
       7        Amendment;                         13 hrs (JRP)         $675       $8,775
                    Drafted amended
       8            pleadings and researched
                     Issues related to same.
       9                                           3.2 hrs (AAM)        $575       $1,840
             3. Discovery:
      10            Review and analyze             14 hrs (JRP)         $675       $9,450
                     documents produced;
      11            pr.e~are dis~overy; confer
                    v;,:It oppo~mg counsel re
      12             discover Issues.
             4. Motion Practice:                   27 hrs (AAM)         $575       $15,525
      13
                     Prepare oppositions to        19 hrs (JRP)         $675       $12,825
      14             motions to dismiss;
                     research issues re motion
      15             for class certification.
      16     5. Prepare for Mediation:             2.1 hrs (AAM)        $575       $1,207.50
                    Pr~ared mediation brief        17 hrs (JRP)         $675       $11,475
      17             an damage analysis
                    report; consulted with
      18            professional re damage
                     analysis; consulted with
      19             clients re damage analysis
                     and potential settlement
      20             o tions.
      21     6. Mediation:                         17hrs (AAM)          $575       $9,775
                     Traveled to and attended      37 hrs (JRP)         $675       $24,975
      22             mediation; traveled to and
                     attended settlement
      23             meeting; engaf,ed in post
                     mediatwn con erences
      24             with mediator and defense
                     counsel.
      25
             7. Settlement Agreement:              64hrs (AAM)          $575        $36,800
      26            Negotiated settlement          18 hrs (JRP)         $675        $12,150
                     agreement and supporting
      27             documents; confened
                    with client about
      28             settlement terms; draft
                     settlement documents.
                                                   -3-
           MARTINDECL. ISO MOTION FOR ATTORNEYS' FEES, COSTS,
                                                                                               Ex.4
           AND INCENTIVE AWARD                                  3: I 0-CV -00920-AJB-WVG
                                                                                                p.4
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       2
       3       8.   Motion for Preliminary                42 hrs (AAM)      $575      $24,150
                    Approval and Provisional              28.3 hrs (JRP)    $675      $19,102.50
       4            Certification:
       5                Prepared motion for
                        preliminary approval;
       6                coordinated preliminmy
                        appr:oval order; prepared
       7
                        motwn for attorneys fees,
                        costs, and incentive
       8                award.
               9.   General Case Management               20 hrs (AAM)      $575      $11,500
       9            Issues:                               26 hrs (JRP)      $675      $17,550
                        Pt·f·.n~t·pri ENE and joint
       10
                                      met and
      11                cortterred w~th opposing
                                    re d~scovery plani·
      12                stntteg;1ze wrth co-counse
                                       issues; attend
      13                                  with co-

      14       1    Post-Preliminary Approval             162 hrs (AAM)     $575      $93,150
                    Correspondence wzth Class             88.4 hrs (JRP)    $675      $59,670
      15            Members:
                                                          184.65 hrs (JK)   $175      $32,313.75
      16                Respond to inquiries from
                        class members re
      17                settlement; review and
                        attention to matters re
      18                objections and opt out

      19       11 Anticipated Additional Work     180 hrs (AAM)             $575      $103,500
      20              Prepare final approval      100 hrs (JRP)             $675      $67,500
                      documents; attend final
      21              approval hear:ing; .r~spond
                      to addrtwnalmqmnes
      22              from class members about
                      settlement; oversee
      23              implementation of
                      settlement terms;
      24                          with opposing

      25                          AAM TOTAL 566.60 hrs                      $575      $325,795
      26                            JRP TOTAL 389.70 hrs                    $675      $263,047.50
                                     JK TOTAL 184.65 hrs                    $175      $32,313.75
      27
                              COMBINED TOTAL           hrs
      28


                                                          -4-
            MARTIN DECL. ISO MOTION FOR ATTORNEYS' FEES, COSTS,
            ANDINCENTIVEAWARD                                        3:10-CV-00920-AJB-WVG
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                                                                                                     p.S
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        1

       2          11.    Co-counsel's lodestar is $106,923.50.      See Declaration of Attomey
        3   Steven Woodrow in support of Final Approval of Class Action Settlement
       4    Agreement and Award of Reasonable Attomeys Fees and Class Member Incentive
       5    Awards.
        6         12.    We incun·ed $11,452.51 in costs, which include filing fees, copying
       7    costs and mediation.     The combined fees for Patterson Law Group, APC and
        8 Edelson LLC is $728,079.75, plus $$11,452.51 in costs, totaling $739,532.26.
        9
                             Reasonableness of Class Counsel's Hourly Rate
      10
                  13.    Our hourly rates are reasonable in comparison to rates charged by
       11
            other finns that handle complex litigation. Attached as Exhibits 2 are tme and
      12
            correct copies of billing surveys.
      13
                   14.   My co-counsel and I command a high hourly rate due to our success
       14
            in consumer and wage-and-hour actions and are held in ve1y high regard by the
      15
            legal community. This case was complex and difficult, not one that any lawyer
       16
            could litigate, but a highly specialized area of employment law that requires highly
      17
            sldlled, experienced, and competent lawyers.
      18
                                        Class Counsel's Experience
      19
                  15.    The attomeys at Patterson Law Group have substantial experience in
      20
            class action litigation, including numerous wage and hour cases. A copy of the
      21
            finn resume and attomey profiles is attached hereto as Exhibit 3.
      22
                  16.    I graduated from University of San Diego's law school and was
      23
            admitted to the bar in 2002. The same year, I joined the law firm of Cooley LLP in
      24
            San Diego, California, of the State of California. Cooley is a large national firm
      25
            that focuses, among other things in complex litigation, including class action
      26
            defense. Since joining Cooley, I have spent the last decade successfully litigating
      27
            complex cases, including numerous class actions.
      28

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            MARTIN DECL. ISO MOTION FOR ATTORNEYS' FEES, COSTS,
            AND INCENTIVE AWARD                                   3: I 0-CV-00920-AJB-WVG          Ex. 4 \
                                                                                                    p. 6 \
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       1
                 17.     In or about Febmary 2009, I left Cooley to work as senior attorney at
       2
           the law fitm of Harrison Patterson & O'Connor. In approximately July of 2011,
       3
           the partners of Hanison Patterson & O'Connor elected to spin off their practice
       4
           groups: Patterson Law Group, APC and Hanison & Bodell, LLP.                     I joined
       5
           Patterson Law Group and opened my own law firm as well.
       6
                 18.     My co-counsel, James R. Patterson, graduated from University of San
       7
           Diego's law school and admitted to the bar in 2000. Mr. Patterson's experience is
       8
           described in the fitm resume and attorney profiles, attached hereto as Exhibit 3.
       9
                 19.     Our current practice almost exclusively focuses on complex class
      10
           actions on behalf of consumers and employees. We served as counsel in multiple
      11
           class cases, including, but not limited to the class actions described below, which
      12
           malce up a partial sampling of our cases:
      13
                       a. Berry v. Weboyalty.com, Inc., Case No. 11-55764 (9th Cir. Court of
      14
                         Appeals) (consumer class action on deceptive marketing practices);
      15
                       b. In re EasySaver Rewards Litigation, Case No. 09-cv-02094-ALB-
      16
                         WVG (S.D. Cal.) (consumer class action on deceptive marketing
      17
                         practices);
      18
                       c. Cox v. Clarus Marketing Group, LLC, Case No. 3:11-cv-02711-H-
      19
                         RBB (S.D. Cal.) (consumer class action on deceptive marketing
      20
                         practices);
      21
                       d. Winkler v. Citibank, Case No. 09-cv-1999-BTM-CAB (S.D. Cal.)
      22
                         (consumer class action on HELOC reductions and suspensions);
      23
                       e. Brewster v. USAA Federal Savings Bank, Case No. 10-cv-1633-JAH-
      24
                         BLM (S.D. Cal.) (consumer class action on HELOC reductions and
      25
                         suspensions); and
      26
                       f. O'Leary v. Wells Fargo Bank, Case No. 2:10-cv-01913-MCE-GGH
      27
                         (E.D. Cal.) (consumer class action on HELOC reductions and
      28
                         suspensions).
                                                       -6-
           MARTIN DECL. ISO MOTION FOR ATTORNEYS' FEES, COSTS,
           AND INCENTIVE AWARD                                   3: 10-CV -00920-AJB-WVG              Ex. 4\
                                                                                                       P· 7   I
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       I
                     g. Pompa v. Target Cmporation, Case No. CV-10-0634 AHM (FFMx)
       2
                          (C.D. Cal.) (over $3,000,000 in compensation received on behalf of
       3
                          pharmacist employees);
       4
                     h. DeLapp v. U.S. Bank, Case No. CGC-10-500638 (San Francisco
       5
                          County Sup. Ct.) (over $1,800,000 recovered for fotmer employees
       6
                          for lost vacation pay);
       7
                     1.   Fletcher v. The Taro Company, Case No. 37-2008-00095573 (San
       8
                          Diego County Sup. Ct.) (approximately $1,000,000 in compensation
       9
                          recovered for the class of only 119 people);
      10
                     J. Von Retteg v. La Costa Limousine, Case No. 37-2008-00086676 (San
      11
                          Diego County Sup. Ct.) (approximately $300,000 in compensation
      12
                          recovered for a small class oflimousine drivers);
      13
                     k. Chase, et al. v. Rite Aid Corp., Case No. BC381055 (Los Angeles
      14
                          County Sup. Ct.) (wage and hour class action on behalf of Rite Aid
      15
                          pharmacists);
      16
                     1. Republic Services Wage and Hour Cases, Case No. JCCP No. 4658
      17
                          (San Diego County Sup. Ct.) (wage and hour class action on behalf
      18
                          of secmity guards and factory workers);
      19
                     m. La Masa, et al. v. Indymac Resources, Inc., Case No. 626836
      20
                          (Stanislaus County Sup. Ct.) (wage and hour class action on behalf of
      21
                          banlc workers);
      22
                     n. Alburez v. CRC Health Group, Inc., Case No. 37-2010-89945 (San
      23
                          Diego County Sup. Ct.) (wage and hom class action on behalf of
      24
                          clinic workers);
      25
                     o. Verdugo v. Richman Management Corp., et al., Case No. 37-2008-
      26
                          00081654 (San Diego County Sup. Ct.) (wage and hour class action
      27
                          on behalf of security guards);
      28

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           MARTIN DECL. ISO MOTION FOR ATTORNEYS' FEES, COSTS,
           ANDINCENTIVEAWARD                                     3:10-CV-00920-AJB-WVG            Ex. 4 \
                                                                                                   p.8
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                   20.    I have also successfully handled numerous individual employment
        2
            and business litigation cases.
        3

        4                              Plaintiff's Efforts and Risks
        5         21.     Plaintiff, among other things, reviewed filings and case-related
        6    documents, participated in consultations and meetings.          Plaintiff was always
        7   available to respond to our inquiries. Plaintiff produced valuable infmmation and
        8    assisted with evaluating the proposed settlement. This work was undertaken in
        9    order to evaluate and achieve the proposed settlement.          In short, Plaintiff is
       10   committed to this case and has taken on considerable risk in pursuing this case and
       11   settlement.
       12                                     Non-Opposition
      13          22.     BANA will not oppose this motion.
       14         I declare under penalty of pe1jury under California laws that the foregoing is
       15   tme and correct. Executed on September 6, 2013 in San Diego, Califomia.
       16

       17
                                                     Is/ Alisa A. Martin
                                                         Alrsa A. Martm
       18

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            MARTIN DECL. ISO MOTION FOR ATTORNEYS' FEES, COSTS,                                       Ex.4
            AND INCENTIVE AWARD                                   3: l 0-CV-00920-AJB-WVG             p. 9
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        1                           CERTIFICATION OF SERVICE
       2          I, Alisa A. Martin, hereby certify that on September 6, 2013, I electronically
       3    filed the foregoing with the Clerk of the Comt using the CM/ECF system which
       4    will send notification of such filing to all counsel of record registered with the
       5    CM/ECF system.
        6
                                                      Is/ Alisa A. Martin
       7                                                  Ahsa A. Martm
        8
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            MARTIN DECL. ISO MOTION FOR ATTORNEYS' FEES, COSTS,
            AND INCENTIVE AWARD                                   3: I 0-CV-00920-AJB-WVG
                                                                                                   Ex. 4   i
                                                                                                   n 1n    I
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                           EXHIBIT 5
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     8
                                             UNITED STATES DISTRICT COURT
     9
                                          SOUTHERN DISTRICT OF CALIFORNIA
    10

    11
         ANTHONY J. IORIO, MAX FREIFIELD, and                 CASE NO. 05-CV-0633-JLS (CAB)
    12   RUTH SCHEFFER, on behalfofthemselves and
         all others, similarly situated,                      [CLASS ACTION]
    13
                                    Plaintiffs,               FINAL ORDER: (1) APPROVING CLASS
    14
                                                              ACTION SETTLEMENT, (2) AWARDING
    15         v.                                             CLASS COUNSEL FEES AND
                                                              EXPENSES, (3) AWARDING CLASS
    16   ALLIANZ LIFE INSURANCE COMPANY OF                    REPRESENTATIVES INCENTIVES, (4)
         NORTH AMERICA, INC.,                                 PERMANENTLY ENJOINING
    17
                                                              PARALLEL PROCEEDINGS, AND (5)
    18                              Defendant.                DISMISSING ACTION WITH
                                                              PREJUDICE
    19

    20
                                                              Fairness Hearing
                                                              Date: March 3, 2011
    21                                                        Time: 1:30 p.m.
                                                              Court: Courtroom 6
    22                                                               Hon. Janis L. Sammartino
    23

    24

    25

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         Iorio, et al. v. Allianz


                                                                                                 Ex.S
                                                                                                  P. 1
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                     Following a hearing on July I, 2010, ("Preliminary Approval Hearing"), this Court entered
      2   its Order (1) Preliminarily Approving Class Action Settlement, (2) Directing Distt·ihution of the
      3   Class Action Settlement Notice, (3) Setting a Final Approval Hearing, and (4) Preliminarily
      4   Enjoining Parallel Proceedings, (Doc. No. 437) ("Preliminmy Approval Order"), preliminarily
      5   approving the Settlement entered into by the parties in the above-captioned Action, and scheduling
      6   a hearing to detetminc whether the Settlement is fair, reasonable, adequate, in the best interests of
      7   the Class, and free from collusion, whether the Settlement should be finally approved by the Court,
      8   and to consider a motion by Class Connsel for mi awm·d of attomeys' fees, costs and litigation
      9   expenses, and incentives for the Class Representatives ("Fairness Hearing").
     10              The Comt has considered: (i) the points and authorities submitted in support of the motion
     11   for final approval of the Settlement ("Final Approval Motion"); (ii) the points mid authorities
     12   submitted in suppmt of the motion for an awm·d of attorneys' fees and costs and litigation
     13   expenses, and approval of incentive awards for the Class Representatives ("Fee Motion"); (iii) the
     14   declarations and exhibits submitted in support of said motions; (iv) Allianz's separate request for
     15   final approval of the Settlement and enhy of judgment herein, on the terms and conditions set forth
     16   in the Settlement; (v) the Settlement Stipulation and Amendment to Settlement Stipulation; (vi) t!Ie
     17   entire record in this proceeding, including but not limited to the points mid authorities,
     18   declarations, and exhibits submitted in support of preliminmy approval of the Settlement, filed
     19   June 3, 2010 (Doc. Nos. 424-435); (vii) the full mid fair notices provided to the Class of the
    20    pendency of this class action, the Settlement, the Faimess Hearing, mid Class members' rights with
    21    respect to this class action lawsuit and Settlement; (viii) the relatively few members of the class
    22    certified by the Court who requested exclusion pmsuant to their right to do so at the time of tlte
    23    notices of the pendency of this class action; (ix) the existence of only six objections to t!Ie
    24    Settlement, out of more than 12,000 Class Members, three of which have been withdrawn by the
    25    objector; (x) the absence of any objection or response by any official after the provision of all
    26    notices required by the Class Action Faimess Act of 2005, 28 U.S.C. §1715; (xi) the oral
    27    presentations of Class Counsel and Counsel for Allianz at the Preliminary Approval Hearing and

    28

                                                              2

          Iorio, et al. v. A/lianz


                                                                                                                  Ex.S
                                                                                                                  P.2
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          Fairness Hearing; (xii) this Court's experiences and observations while presiding over this matter,

     2    and the Court's file herein; and (xiii) the relevant law.
      3              Based upon these considerations, the Court's findings of fact and conclusions oflaw as set
     4    forth in the Preliminary Approval Order and in this Final Order: (1) Approving Class Action
      5   Settlement, (2) Awarding Class Counsel Fees and Expenses, (3) Awarding Class Representatives
     6    Incentives, (4) Permanently Enjoining Parallel Proceedings, and (5) Dismissing Action with
     7    Prejudice ("Final Approval Order"), and good cause appearing:
      8

      9              IT IS HEREBY ORDERED AND DECREED, as follows:
     10

     11   1.         Definitions.      The capitalized terms used in this Final Approval Order shall have the
     12   meanings and/or definitions given to them in the Settlement, or if not defined therein, the
     13   meanings and/or definitions given to them in this Final Approval Order.
     14

     15   2.         Incorporation of Documents. This Final Approval Order incorporates and makes a pmt

     16   hereof:
     17              A.         the Patties' Settlement Stipulation, filed as Exhibit 1 to the Declaration of RobertS.
     18   Gianelli in support of final settlement approval, on February 10, 2011, ("Gianelli Declaration"),
     19   including all exhibits thereto and the Parties' Amendment to Settlement Stipulation filed as Exhibit
     20   2 to the Gianelli Declaration including all exhibits thereto, (collectively, "Settlement Stipulation"),
    21    which sets forth the terms and provisions of the proposed settlement ("Settlement");

     22              B.         the Comt's findings and conclusions contained in its Preliminary Approval Order
    23    dated July I, 2010,2010, (Doc. No. 437), ("Preliminmy Approval Order").

    24

    25    3.         Jurisdiction. The Court has personal jurisdiction over the Parties, the Class Members (as
    26    defined below at pm·agraph 4 below), including objectors.                  The Court has subject matter
    27    jurisdiction over this action, including, without limitation, jurisdiction to approve the Settlement,
     28   to settle and release all claims alleged in the action and all claims released by the Settlement,

                                                                   3

          Iorio, et al. v. Allianz


                                                                                                                         Ex. 5
                                                                                                                         P.3
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          including the Released Transactions (as defined in the Settlement Stipulation), to adjudicate any
     2    objections submitted to the proposed Settlement (including objections by Class Members or CAFA
      3   officials), and to dismiss this Action with prejudice. All Class Members, by failing to exclude
     4    themselves according to the Court's prior orders and the terms of the prior notices of the pendency
      5   of the Action, have consented to the jurisdiction of this Court for purposes of this Action and the

      6   Settlement of this Action.
      7

      8   4.        Definition of the Class and Class Members. The "Class," which is comprised of the
      9   "Class Members," is defined by the Comt's Order Granting Plaintiffs' Motion for Class
     10   Certification, dated July 25, 2006 (the "Class Certification Order"), (Doc. No. 113), and is as
     11   follows: All persons who purchased one of the following annuities fi·om Allianz Life Insmance
     12   Company of North America or Life USA Insurance Company while they were California residents,
     13   age 65 years or older, and prior to July 26, 2006: Bonus Maxxx (including Accumulator Bonus
     14   Maxxx, Bonus Maxxx 12% and Bonus Maxxx 14%), BonusDex, Bonus Maxxx Elite, BonusDex
     15   Elite, 10% Bonus PowerDex Elite and MasterDex 10; subject to the following categories of

     16   persons which are specifically excluded from the Class:
     17             A.         Officers, directors or employees of Allianz; any entity in which Allianz has a
     18   controlling interest; the affiliates, legal representatives, attorneys or assigns of Allianz; any federal,
     19   state or local governmental entity; and any judge, justice or judicial official presiding over this
    20    matter, and the staff and immediate family of any such judge, justice or judicial officer.
    21              B.         Any person who acted as an independent insurance Agent licensed by the State of

    22    California and appointed by Allianz in the sale of Annuities that are in the Class.

    23              c.         Any person who, under the terms of the previous orders and notices to class
    24    members in this Action, timely and properly submitted a written request to be excluded from the

    25    Class.
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                      All Class Members are subject to this Final Approval Order and the Final Judgment to be
      2    entered by the Clerk of Court in accordance herewith.
      3

      4    5.        Findings and Conclusions. The Court finds that the Settlement was not the product of
      5    collusion or any other indicia of unfaimess, is fair, reasonable, and adequate to the Class in light of
      6    the complexity, expense, and likely duration of the litigation (including appellate proceedings),
      7    and the risks involved in establishing liability, damages, and in maintaining the Action as a class
      8    action, through trial and appeal. The Court finds that the Settlement represents a fair and complete
      9   resolution of all claims asserted in a representative capacity on behalf of the Class and should fully
     10    and finally resolve all such claims. In support of these findings and conclusions, the Court fmther
     11   finds:
     12              A.         There is no evidence of collusion. Tbe proposed settlement, as set fmth in the
     13   Settlement Stipulation, resulted fi·om extensive arms-length negotiation.           The Action was
     14   extensively and vigorously litigated, up to the commencement of trial (as further described below),
    15    prior to any settlement. Plaintiffs and Allianz engaged in intensive arms-length negotiations, over
    16    the comse of multiple mediation sessions before a capable and well-respected mediator, Robert J.
    17    Kaplan of Judicate West, with extensive experience in mediating complex consumer and insurance
    18    cases.      Extensive negotiations thereafter resulted in the proposed settlement reflected by the
    19    Settlement Stipulation.
    20               B.         The Settlement provides for substantial cash payments and/or other monetary
    21    benefits to every Class Member, without requiring any Class Member to affirmatively participate
    22    in a claims process (although some of the categories of Settlement Relief, by their natme, are
    23    dependent upon the Class Member's future policy choices, and require an affirmative election to
    24    annuitize, convert an existing annuitization option to a different annuitization option, and/or
    25    request partial withdrawal). No pmtion of the substantial Settlement Relief would be consumed by
    26    attorneys' fees, litigation expenses, notice expenses, settlement administration expenses, or the
    27    requested incentive awards for the Named Plaintiffs, since such amounts are all separately
    28    provided for. The Comt has considered the realistic range of outcomes in this matter, including

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          the amount Plaintiffs might receive if they prevailed at trial, the strength and weaknesses of the
      2   case, the novelty and number of the complex legal issues involved, and the risk that Plaintiffs
      3   would receive less than the Settlement Relief or take nothing at trial. The amount offered by the
      4   Settlement is fair, reasonable, and adequate in view of these factors.
      5              c.         Before reaching the proposed settlement, Plaintiffs and Allianz fully and vigorously
      6   litigated their claims and defenses in extensive proceedings before this Comt and in the appellate
      7   comts. A detailed procedmal histmy of this action is set forth in the Court's docket, and is
      8   described in the declaration of Robert S. Gianelli and in Plaintiffs' points and authorities submitted
      9   in support of preliminary approval.            Inter alia, Allianz' s challenges to the pleadings, class
     IO   ce1tification, class decertification, summary judgment, motion to "clarifY" the Cowt's orders
     II   regarding class certification, motion to modifY the class definition, motion to strike various
     12   remedies in the prayer for relief, and motion to dece1tify the Class' punitive damages claim, and
     13   the Parties' motions in limine and other tlial motions, were all heard and decided prior to
     14   Settlement. Class certification issues were repeatedly submitted to the Ninth Circuit, through three
     15   separate Rule 23(f) petitions filed by Allianz. Trial briefs, witness lists, jwy instructions and
     16   verdict forms, and deposition testimony designations were all filed and exchanged. All fmal pre-
     17   trial conferences were completed. The Parties reported ready for trial on March 29, 20 I 0, while
     18   settlement negotiations involving a mediator were ongoing.               Based on the Parties' repmted
     19   progress made in mediation, a brief continuance to April I, 2010 was granted. On that morning,
     20   with jmy selection scheduled to commence, the Parties reported their proposed settlement to the

     21   Comt.
     22              D.         Before reaching the proposed settlement, Plaintiffs and Allianz also conducted
     23   extensive discovery, fully completing all fact and expert discovery. More than 40 lay and expe1t
     24   depositions, cumulatively hundreds of homs of testimony, were completed. Plaintiffs took the
     25   depositions of 16 key Allianz managerial employees. Plaintiffs defended the depositions of the
     26   class representatives (each was deposed twice) and the depositions of 10 absent class members.
     27   All seven expert depositions were completed by the parties.              Written discovery was no less
     28   comprehensive. In addition to extensive requests for production of documents at deposition,

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              Plaintiffs propow1ded tln·ee sets of inspection demands (cumulatively 56 requests), plus pre-trial
         2    interrogatories and requests for admission. Plaintiffs also subpoenaed additional documents from
         3    selling agents. Properly authenticated and verified policy data and mailing data was produced for
      4       eve1y single individual class member and mmuity. Voluminous docwnentmy evidence (including
      5       22 separate batches of records produced by Allianz) was produced, reviewed and analyzed. The
      6       class representatives submitted to extensive written discovery from Allianz as well. Plaintiffs
      7       responded to three rounds of written discovery, including interrogatories, inspection demands, and
      8       requests for admission.
      9                 E.         Based upon this full litigation of relevant legal issues affecting this litigation,
     Io       extensive investigation of the underlying facts in discovery, and full preparation by the Parties for
     11      the trial in the action, Plaintiffs and Allianz were fully informed of the legal bases for the claims
     12       and defenses herein, and capable of balancing the risks of continued litigation (both before this
     13      Court and on appeal) and the benefits of the proposed settlement.
     14                 F.         The Class is and was at all times adequately represented by Named Plaintiffs and
     15      Class Counsel, including in entering into and implementing the Settlement, and has satisfied the
     16      requirements of Federal Rules of Civil Procedure, Rule 23, and applicable law. Class Connsel
     17      submit that they have fully and competently prosecuted all causes of action, claims, theories of
    18       liability, and remedies reasonably available to the Class Members. Further, both Class Counsel
    19       and Allianz's Counsel are highly experienced trial lawyers with specialized knowledge in
    20       insurance and annuity litigation, and complex class action litigation generally. Class Counsel and
    21       Allianz's Counsel are capable of properly assessing the risks, expenses, and duration of continued
    22       litigation, including at trial and on appeal.        Class Counsel submit that the Settlement is fair,
    23       reasonable and adequate for the Class Members. Allianz denies all allegations of wrongdoing and
    24       disclaims any liability with respect to any and all claims alleged by Plaintiffs and the Class,
    25       including their claims regm·ding the propriety of class certification, but agrees that the proposed
    26       settlement will provide substantial benefits to Class Members. Allianz considers it desirable to
    27       resolve the Action to finally put Plaintiffs' and the Class' claims to rest and avoid, among other
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          things, the risks of continued litigation, the expenditure of time and resources necessmy to proceed
      2   through trial and any subsequent appeals, and interference with ongoing business operations.
      3             G.         The selection and retention of the Settlement Administrator was reasonable and

      4   appropriate.
      5             H.         As further addressed below, through the mailing of the Notice of Pendency of Class
      6   Action and the Settlement Notice, each in the forms and mmmers ordered by this Court, the Class
      7   has received the best practicable notice of the pendency of this class action, of the Settlement, the
      8   Fairness Hearing, and of Class Members' rights and options, including their rights to opt out (at
      9   the time of the notices of pendency), to object to the settlement, and/or to appear at the Faimess
     1o   Hearing in support of a properly submitted objection, and of the binding effect of the Orders and
     11   Judgment in this Action, whether favorable or unfavorable, on all Class Members. Said notices
     12   have fully satisfied all notice requirements under the law, including the Federal Rules of Civil
     13   Procedure and all due process rights under the U.S. Constitution and California Constitution.
     14             I.         The response of the Class to this Action, the certification of a class in the Action,
     15   and to the Settlement, including Class Counsel's application for an awm·d of attorneys' fees,
     16   litigation expenses, and the class representatives' incentives, after full, fair, and effective notice
     17   thereof, strongly favors final approval of the Settlement.            Out of the 15,626 notices of the
     18   pendency of this class action mailed to the members of the class celtified by the Court, only 196
     19   valid requests for exclusion (affecting 239 Class Annuities) were received.            In response to the
     20   more than 16,000 Settlement Notices mailed to the Class, as of Febmmy 10, 2011 (five months
    21    after the deadline for objecting to the Settlement), just six objections have been received, four of
     22   which have been withdrawn by the objectors. These objections have been filed in the Action,
     23   considered by the Court, and are fully addressed below.
    24              J.         As set faith in the Settlement, Allianz has denied, and continues to deny, any
    25    wrongdoing or liability relating to the Action. Allianz does not join in Plaintiffs' Final Approval
    26    Motion or Fee Motion or the points and authorities and supporting papers filed in suppolt of said

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          motions.        Notwithstanding, Allianz has separately reqnested final approval of the Settlement,
     2    dismissal of the Action with prejudice, and entry of judgment in the Action, on the terms and

      3   conditions set forth in the Settlement.
     4

      5   6.         Prior Notices of Pendency of Class Action and of Right to Opt Out. The Court hereby
     6    finds that the "Notice of Pendency of Class Action" in the Action was mailed to the Class
     7    Members, in three stages, on November 13, 2006, December 26, 2006, and October 2, 2007, in the
      8   form and manner approved by the Court in its orders of October ll, 2006 (Doc. No.l26),
     9    December 12,2006 (Doc. No. 136), and September 21, 2007 (Doc. No. 190). The Court finds that
    1o    said notices were the best notice practicable, and were reasonably calculated, under the
     11   circumstances, to apprise the Class Members of their rights, including their right to opt out of the
    12    Class at that juncture, as set forth in the notices, and fully satisfied the requirements of due process

    13    and all other applicable provisions oflaw.
     14

     15   7.         Special Notice of Right to Remain a Class Member or Request Exclusion: For a small
    16    segment of the Class (318 individuals with 353 Class Annuities), identified as potential Class
    17    Members only at the settlement stage (and after the foregoing notices of pendency had been
    18    mailed), a supplemental notice of their right to opt out was mailed on August 5, 2010. These Class
     19   Members were omitted from prior notices due to an administrative enor. Said supplemental notice
    20    advised these previously omitted Class Members of their right to remain Class Members or to
    21    request exclusion from the Class, and the procedur-es for doing so. Notice was mailed to these
    22    previously-omitted Class Members on August 5, 2010, in accordance with the Court's Order dated
    23    July 1, 2010, (Doc. No. 438). The Comt finds that said notices were the best notice practicable,
    24    and were reasonably calculated, under the circumstances, to apprise these previously-omitted Class
    25    Members of their right to opt out of the Class at that juncture, as set forth in the notices, and fully
    26    satisfied the requirements of due process and all other applicable provisions of law.

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           8.         Requests for Exclusion. After the mailing of the 15,626 notices of the pendency of this
      2    class action, and 318 supplemental notices, including specific notice of the Class Members' right
      3    (at said times) to exclude themselves from the certified class, timely and valid requests request for
      4    exclusion have been received for only 250 Class Annuities (out of more tban 16,000). In addition,
      5    nine nntimely and/or invalid requests for exclusion were received, (six untimely requests and three
      6    requests by non-Class Members). A list of those persons and entities who have timely and validly
      7    requested exclusion fi"om the Class, according to tbe terms of tbe prior notices of the pendency of
      8    the class action and the Court's orders regarding said notices, was filed with the Court in support
      9   of final settlement approval as Exhibit C to the Settlement Administt·ator' s declaration (Pl. Ex. 5,
     10   attached to the Gianelli Declaration), and is incorporated herein and made a part hereof. The
     11   persons and Annuities on that list are excluded from the class previously-cettified by the Comt and
     12   are therefore not Class Members, shall not be bonnd by the Settlement or Judgment in the Action,
     13   and shall not receive any Settlement Relief.
     14

     15   9.         Notice of Settlement.    Based upon the declarations of connsel and the Settlement
     16   Administrator, the Court finds that the Settlement Notice was mailed on August 5, 2010, in the
     17   form and manner agreed to under the Settlement and approved by tbe Comt in the Pre1iminmy
     18   Approval Order, (Doc. No. 437). The Settlement Notice provided fair and effective notice to the
     19   Class ofthe Settlement and tbe terms thereof, including but not limited to those terms related to the
    20    Class recovety and the Settlement Relief, the claims and patties released, tbe binding effect of the
    21    Settlement (if approved) on all Class Members, the provisions for attorneys' fees, litigation
    22    expenses, administt·ative expenses, and Named Plaintiffs' incentives, Class Counsel's intention to
    23    petition for an award of such fees, expenses, and incentives in tbe maximum mnonnts petmitted
    24    under the Settlement, the date, time, and place of the Final Approval Hearing, and Class members'
    25    rights to object to the Settlement and to appear at tbe Fairness Hearing (on their own or through
    26    counsel of their own selection, at their own expense) in support of any timely and validly
    27    submitted objection, all as set forth in the Settlement Notice. The Court finds that said form and
    28    manner of giving notice, including the steps taken for updating the Class notice mailing database,

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          researching alternate mailing data, re-mailing any returned notices, and receiving and responding
     2    to Class Member inquiries (including the support services to be provided by the Settlement
      3   Administrator and Class Counsel), constitute the best notice practicable, and were reasonably
     4    calculated, under the circumstances, to apprise the Class Members of the Settlement and Class
      5   Members' rights thereunder. The Court further finds that the Class members were afforded a

      6   reasonable period of time to exercise such rights.
      7             Based on the foregoing, the prior notices of pendency and the Settlement Notice, in the
      8   forms and manners approved by the Court, collectively fully satisfy tl1e requirements of due
      9   process, the United States and California Constitutions, the Federal Rules of Civil Procedure, and

     10   all other applicable provisions oflaw.
     11

     12   10.       Notices Pursuant to 28 U.S.C. § 1715. Based on the requirements of the Settlement
     13   Stipulation and the declarations submitted in support of settlement approval, the Court finds that
     14   all notices and requirements of the Class Action Fairness Act of 2005 ("CAFA"), 28 U.S.C. §
     15   1715, have been satisfied. Allianz' provision of CAFA Notices is attested to by the Declaration of
     16   Roland C. Goss, (Doc. Nos. 471-1 and 471-2). The proposed settlement was filed on June 3, 2010
     17   (Doc. Nos. 425-1, 425-2). On June 11, 2010, Allianz served the notices required by 28 U.S.C. §
     18   1715(b), (see Doc. No. 432), which included a copy of the Stipulation of Settlement and other
     19   documents required by CAFA. This Court entered an Order granting the motion for preliminary
     20   approval of the proposed settlement on July 1, 2010 (Doc. No. 437). On July 6, 2010, Allianz
    21    served a supplemental CAFA Notice of the entty of the Preliminary Approval Order, see
     22   Declaration of Roland C. Goss, (Doc. Nos. 471-1 and 471-2), including notice of the date, time,
     23   and place of the Fairness Hearing set forth therein. Supplemental CAFA Notices were served by
    24    Allianz when this Cmut re-noticed the Faimess Hearing. The final supplemental CAFA Notice
     25   was served by Allianz on Janumy 18,2011, providing a copy of the Amendment to the Stipulation
    26    of Settlement and the date, time and place of the Faimess Heming set for March 3, 2011. More
     27   than ninety (90) days have passed since the service of the foregoing June 11, 2010 and July 6,
     28   2010 notices. No objection or response to the Settlement has been filed by any federal or state

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          official, including any recipient of the foregoing notices. No federal or state official, including any
     2    recipient of the foregoing notices, has appeared or rcqJJcsted to appear at the Fairness Hearing.
      3

     4    11.       Class Member Objections. As set forth in detail supra, full and fair notice of Class
      5   Members' right to object to the proposed settlement and to appear at the Faimess Hearing in
      6   support of such an objection has been provided in the form and manner required by the Settlement
      7   Stipnlation, the Court's Prelimi.naty Approval Order, the requirements of due process, and atlY
      8   other applicable law. The deadline for objection expired on September 9, 2010. Six objections
      9   have been submitted by the Class Members (all of which have been filed with the Comi, (directly
     10   by the objector (Doc. Nos. 441, 442, 444-446) and/or by class counsel in support of final
     11   settlement approval).     Four of these objections (Doc. Nos. 442, 444, 445, 446) have been
     12   withdrawn by the objector. The remaining two pending objections are hereby ovenuled, for the
     13   reasons set forth in Plaintiffs' motion for fmal settlement approval and Allianz' response thereto
     14   (Doc. No. 471). No person has requested leave to appear at the Faimess Hem·ing to object to the

     15   Settlement.
    16

     17   12.       Final Settlement Approval and Binding Affect.           The terms and provisions of the
     18   Settlement have been entered into in good faith, and are fair, reasonable and adequate as to, md in
     19   the best interests of, the Parties and the Class Members, md in full compliance with all applicable
    20    requirements of the Federal Rules of Civil Procedure, the United States Constitution (including the
    21    Due Process Clause), the California Constitution, and any other applicable law. Therefore, the
    22    Settlement is approved. The Settlement, this Final Order and Judgment shall be forever binding on
    23    the Plaintiffs and all otl1er Class Members, as well as their heirs, executors and administrators,
    24    successors and assigns, and shall have res judicata md other preclusive effect in all pending and
    25    future claims, lawsuits or other proceedings maintained by or on behalf of any such persons, to the

    26    fullest extent allowed by law.
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           13.        Implementation of Settlement.    The pmiies are directed to implement the Settlement
      2    according to its tCJms and conditions. Allianz is authorized, at its sole option and in its sole
      3    discretion, in accordance with the terms of the Settlement Stipulation, and without requiring
      4    further approval of the Court, to implement the Settlement before the Final Settlement Date (as
      5    defined in the Settlement Stipulation).
      6

      7    14.        Appeal after Early Implementation. Any Class Member who failed to timely and validly
      8    submit his or her objection to the Settlement, in the manner required by the Settlement, the
      9    Settlement Notice, and this Court's Preliminary Approval Order, has waived any objection. Any
     10    Class Member seeking to appeal from the Court's rulings must first: (a) move to intervene upon a
     11   representation of inadequacy of counsel (if they did not object to the proposed settlement under the
     12   terms of the Settlement Stipulation); (b) request a stay of implementation of the Settlement; and (c)
     13   post an appropriate bond.       Absent satisfaction of all three of these requirements, Allianz is
     14   authorized, at its sole option and in its sole discretion, to proceed with the implementation of the
     15   Settlement, including before the Final Settlement Date, even if such implementation would moot
     16   any appeal.
    17

    18    15.        Release. The Release set forth in Section VII of the Settlement Stipulation is expressly
    19    incorporated herein in all respects, is effective as of the date of the entry of tl1is Final Order, and
    20    forever dischm·ges the Releasees from any claims or liabilities released by the Settlement,
    21    including the Released Transactions (as those terms are defined in fue Settlement Stipulation).
    22    This Release covers, without limitation, any and all claims for attorneys' fees and expenses, costs
    23    or disbursements incurred by Class Counsel or other counsel representing Plaintiffs or Class
    24    Members in this Action, the settlement of this Action, the administration of such Settlement, and
    25    the Released Transactions, except to the extent otherwise specified in this Order and the
    26    Settlement Stipulation.
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          16.        Permanent Injunction. All Class Members are hereby pennanently enjoined from filing,
      2   commencing, prosecuting, intervening in, maintaining, participating (as class members or
      3   otherwise) in, or receiving any benefits from, any lawsuit (including putative class action
      4   lawsuits), arbitration, administrative or regulatmy proceeding or order in any jurisdiction asserting
      5   any claims released by this Agreement; and from organizing Class Members into a separate class
      6   for pmposes of pursuing as a purpmted class action any lawsuit (including by seeking to amend a
      7   pending complaint to include class allegations, or seeking class certification in a pending action)
      8   asserting any claims released by this Agreement. Nothing in this paragraph, however, shall require
      9   any Class Member to take any affi1mative action with regard to other pending class action
     10   litigation in which they may be absent class members. Allianz has reserved the right to file
     11   motions or to take other actions to enforce the release provisions of the Settlement Stipulation and
     12   of this injunction, as it may deem appropriate. The Court finds that issuance of this permanent
     13   injunction is necessmy and appropriate in the aid of the Court'sjmisdiction over the Action and its

     14   judgments.
     15

     16   17.        Enforcement of Settlement. Nothing in this Final Order shall preclude any action to
     17   enforce or interpret the te1ms of the Settlement Stipulation. Any action to enforce or interpret the
     18   terms of the Settlement Stipulation shall be brought solely in this Comt.
     19

     20   18.        Communications with Class Members.           Allianz may not be privy to or respond to
     21   inquiries from Class Members to Class Counsel regarding the Settlement. However, Allianz has
     22   the right to connmmicate with, and to respond to inquiries directed to it, from Class Members,
     23   Annuity Owners, and Annuity Beneficimies, orally and/or in writing, regarding matters in the
     24   normal course of administering the Annuities, including responding to any Complaints received
    25    through state agencies, state officials or otherwise, and may do so tl1rough any appropriate agents
     26   or agencies. If Alli= receives any inquity relating to the merits of the Settlement or a Class
     27   Member's rights or options under the Settlement, from a Class Member or other Person entitled or
     28   potentially entitled to Settlement Relief, Allianz shall not respond to the inquiry but shall forward

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           it to or refer the inquiring party to Class Counsel. However, Allianz may respond to questions
      2    fi·om Class Members, Owners and Beneficiaries in the ordinmy course of business if such Persons
      3    initiate contact with Allianz and ask for information about annuitizations, withdrawals, loans and
      4    other Annuity contract terms and benefits.
      5

      6    19.       Attorneys' Fees and Litigation Expenses. The Comt orders that Class Counsel shall be
      7   entitled to an awm·d of reasonable attorneys' fees and litigation expenses incurred in connection
      8   with the Action and in reaching this Settlement, to be paid by Allianz at the time and in the manner
      9   provided in the Settlement. The Comi finds that an award of reasonable attorneys' fees and
     to   litigation expenses, as provided for herein, is appropriate based on the contractual agreement to
     II   pay such fees and expenses set forth in the Settlement, the private attorney general doctrine and
     12   Code of Civil Procedure §1021.5, and the Court's equitable powers under California law.
     13              The Court finds to be reasonable, and awards to Class Counsel, attorneys' fees, to be paid
     14   as provided in the Settlement, in the total amount of eighteen million dollm·s aJJd no cents
     15   ($18,000,000.00).         The Court finds to be reasonable, and awards to Class Counsel, litigation
     16   expenses, to be paid as provided in the Settlement, in the total amount of one million three hundred
     17   thousand and no cents ($1,300,000.00), subject to any reduction therefrom pursuant to the terms of
    18    the Amendment to Settlement Stipulation. The Court further orders that in accordance with the
     19   Settlement, in addition to the foregoing award of litigation expenses, Allianz shall pay to the
    20    Settlement Administrator (aJJd the former administrator, if applicable) all reasonable settlement
    21    notice and administration expenses billed thereby in connection with the Settlement, consistent
    22    with the contracts that such administrators entered into for the performaJJce of such work and any
    23    additional work requested by the Pmiies jointly.
    24               The award of attorneys' fees and litigation expenses to Class Counsel in this Final
    25    Approval Order shall be the sole reimbursement to which Class Counsel is entitled from Allianz or
    26    Releasees with respect to t!Je Action, the Settlement, or the administration of the Settlement.
    27    Allianz aJJd Releasees shall have no obligation to pay attorneys' fees or costs or litigation expenses
    28

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          Iorio, eta!. v. Allianz


                                                                                                                   Ex.S
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          with respect to the Action, the Settlement, or the administration of the Settlement, to any other

      2   person, firm, or entity other than as provided in this Final Order. No Named Plaintiff, or any other
      3   Class Member, shall have any obligation to pay Class Counsel any fmther amounts for attomeys'

     4    fees, costs, or litigation expenses in the Action. No Named Plaintiff, or any other Class Member,
      5   shall be entitled to seck or receive any further payment of attorneys' fees or litigation expenses in

      6   connection with the Action from Allianz or any Releasee.
      7             Allianz does not join in Class Counsel's motion for an award of attorneys' fees and

      8   litigation expenses. Allianz does not join in requesting and does not necessarily agree with any of

      9   the related findings requested by Class Counsel and made by the Comi in connection with Class

     10   Counsel's motion for an award of attorneys' fees and litigation expenses, including the findings set
     11   forth in this paragraph 19 of the Final Order. Notwithstanding, pursuant to the Settlement, Allianz

     12   does not oppose an award of attomeys' fees and litigation expenses as provided for by Section VIII

    13    of the Settlement.
     14             In support of the foregoing attomeys' fee and litigation expense award, the Comt finds as

     15   follows:
     16             A.         The following hourly billing rates are reasonable in light of the complexity of this

    17    litigation, the work performed, Class Cmmsels' reputation, experience, and competence, and the

    18    prevailing billing rates for comparably complex work by comparably qualified counsel in the

     19   relevant market:
    20                         1.     For RobertS. Gianelli, $750 per hom;

    21                         2.     For Raymond E. Mattison, $750 per hour;

    22                         3.     For Don A. Ernst, $750 per hom;

    23                         4.     For Ronald A. Manon, $595 per hom;

    24                         5.     For Dean Goetz, $595 per hour;

    25                         6.     For ShetTil Nell Babcock, $575 per hom;

    26                         7.     For Christopher D. Edgington, $575 per hour;

    27                         8.     For Jully C. Pae, $500 per hom;

    28                         9.     For Richard R. Fmto, $450 per hom;

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                               10.   For Joanne Victor, $450 per hour;
      2                        11.   For Scott Juretic, $410 per hour;
      3                        12.   For futnre attorney time in connection with settlement administration, $410
     4                               per hour, as further described below.
      5   The reasonableness of these billing rates is supported by the declarations of these attorneys, the
      6   Declaration of Gary Greenfield, by Class Counsel's prior attomeys' fee awards in comparably
      7   complex class action insurance litigation in the relevant legal market, by prior attomeys' fee
      8   awards in this and other judicial districts for comparably qualified counsel in comparably complex
      9   work, and by published industry billing rates, all as set forth in Class Counsel's motion for an
     10   award of attorneys' fees, and the supporting declarations and exhibits.
     ll             With respect to futnre attorney time in connection with settlement administration, Class
     12   Counsel have provided an estimate in their submitted declarations, based upon administration of
     13   past, comparable class action settlements, of the attomey time which will be incurred for this
     14   purpose. The Court approves the requested $410 per hour billing rate for such attorney settlement

     15   administration work.
     16             B.         The $195 hourly billing rate for work performed by certified paralegals is
     17   reasonable in light of the experience and qualifications of these non-attorney billers.            The
     18   reasonableness of this billing rate is supported by a recent fee awards for work performed by these
     19   paralegals in the relevant market, in comparable litigation, and the submitted declarations of
    20    counsel. Paralegal time, which is normally billed to fee-paying clients, is properly included and
    21    reimbursable under a lodestar analysis. See, e.g., United Steelworkers v. Phelps Dodge Corp. (9'"

    22    Cir. 1990) 896 F. 2d 403, 407-08.
    23              c.         The time declared to have been expended by Class Counsel and Class Counsel's
    24    paralegals, as set forth in Class Counsel's motion for an award of attorneys' fees and supporting
    25    declarations, is reasonable in amount in view of the complexity and subject matter of this
    26    litigation, and the skill and diligence with which it has been prosecuted and defended, and the

    27    quality of the result obtained for the Class.
    28

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                                                                                                                   Ex. 5
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                      D.         The reasonableness of the fee awarded by this Final Approval Order is supported by
      2    a "multiplier" analysis, the second requisite step in a lodestar analysis. A fee multiplier is properly
      3    applied if supported by appropriate factors, including the extent of the risks of the litigation and the
      4   purely contingent nature of the fee award (factors which are not subsumed in Class Counsel's
      5   lodestar amount). Here, Class Counsel consisted of two small finns, Gianelli & Morris and Emst
      6   and Mattison (now Ernst Law Group and Mattison Law Fitm), and a sole practitioner, the Law
      7   Offices of Ronald A. Marron. Cumulatively, the eleven lawyers working on the file expended in
      8   excess of 15,200 hours over a five and one-half year period, plus more than 1,800 paralegal/law
      9   clerk hours, and more than $1.49 miiiion in out-of-pocket litigation expenses, a very substantial
     10   commitment given the small size of these offices. Class Counsel's ability to recover fees and
     II   expenses in this action was purely contingent upon a successful outcome or settlement.               The
     12   contingency risks presented by this litigation were significant, as analyzed in the prelimimuy and
     13   final approval motions and suppmting declarations. Inter alia, it is significant that a related
     14   nationwide class action (Jiom which the Class here was carved out), asserting certain similar
     15   claims and themies, was defeated by Allianz in a jury trial. Mooney v. Allianz Life Insurance
     16   Company of North America, D. Minn. Case No. 06-545 ADM/FLN. The Mooney jury verdict has
     17   been reduced to judgment, that judgment has become final, and the Mooney class recovered
     18   nothing. Risks relating to Class certification are also significant. In various procedural postures,
     19   Allianz vigorously challenged class certification throughout this lawsuit, both before this Comt
    20    (opposing certification, seeking decertification, seeking "clarification" regarding the certified
    21    claims, seeking to modif'y the class definition, and seeking to decertifY plaintiffs' punitive damages
    22    claims) and in three separate Rule 23(f) petitions for permission to appeal in the Ninth Circuit.
    23    Although this Court rejected these challenges to class certification, the Ninth Circuit has not
    24    considered any of AIIianz' challenges on their merits to date. Despite this risk, plaintiffs litigated
    25    this action up to only hours before the commencement of jury selection, when the Settlement was
    26    reached.
    27               In view of the foregoing contingency/litigation risk, factors which are not subsumed in
    28    Class Counsel's lodestar, the Comi finds that application of the requested fee multiplier of 1.70

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          (which suppmts an award ofattomeys' fees in the full unopposed amount of$18.0 million dollars)
      2   is appropriate.           Multipliers ranging fi"om 2-4 (and higher) have been approved in comparably
      3   complex litigation, under such circumstances. See, e.g., Wershba v. Apple Computer, 91 Cal. App.
      4   4th 224, 255 (2001); Behrens v. Wometco Enterprises, Inc., 118 F.R.D. 534, 549 (S.D. Fla. 1988);
      5   Declaration of Geoffrey P. Miller, 30-35, (Gianelli Declaration, PI. Ex. 17). The requested fee
      6   multiplier falls on the low end of the reasonable range, based on typical multipliers approved in
      7   comparable litigation, as reflected in the foregoing cases and in the Declaration of Geoffi·ey P.
      8   Miller, 1[1[30-35, (Gianelli Declaration, PI. Ex. 17).         The Court approves the requested fee
      9   multiplier of 1. 70, (thereby limiting the awarded fee to the unopposed amount of $18.0 million).
     10             E.         Based upon the valuation of settlement benefits set forth in the Declaration of
     11   Vincent P. Gallagher, Ph.D., (Gianelli Declaration, PI. Ex. 15), the amount of attorneys' fees
     12   approved here by the Court (based on the foregoing lodestar/multiplier), in the amount of $18.0
     13   million, represents 16.48% of the Settlement's "full utilization value" (i.e., the value of the benefits
     14   made available to the Class) and 29.95% of the Settlement's "projected utilization value"
     15   midpoint, (i.e., the midpoint of the range of the projected value of the benefits which will be
     16   received by the Class).            The Ninth Circuit has determined that 25% of the recovery is a
     17   "benchmark" award for class action cases, and recognized that percentage fees in the range of 20-
                                                                                                1
     18   30% are generally appropriate. Hanlon v. Cluysler Cmp., 150 F. 3d 1011, 1029 (9 h Cir. 1998); Six
     19   Mexican Workers v. Ariz. Citrus Growers, 904 F.2d 1301, 1311 (9th Cir.1990). The fee award
     20   sought in the present case is reasonable when judged by this standard. The projected utilization
     21   value midpoint (29.95%) falls within this generally appropriate range, and the full utilization value
     22   ( 16.48%) falls well below the Hanlon benchmark. A fee award at the higher end of the accepted
     23   range, under Hanlon, is justified here, in part, by the same contingency/litigation risk discussed
     24   above.      The percentage of recovery here, both with :respect to full utilization value and the
     25   projected utilization value midpoint, is reasonable in light of prior fee awards (measured as a
     26   percentage of recovery) in comparable class action litigation, as set forth in the Declaration of
     27   Geoffrey F. Miller, 1[1[36-57, (Gianelli Declaration, Pl. Ex.17).
     28

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                                                                                                                     Ex. 5
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                    F.         Out of approximately 12,000 Class members and more than 16,000 Settlement
      2   Notices mailed, including explicit notice of the fees and expenses requested here, there is only a
      3   single complaint regarding attorneys' fees, (Doc. No. 441). The stated objection ("[a]s usual, the
      4   only party benefiting fi"om a class action lawsuit is the attorneys") is refi1ted by the foregoing
      5   percentage of recovery analysis, and the valuation of the direct class relief performed by Dr.
      6   Gallagher. Plaintiffs' contend that this complaint is not a valid objection, since there is no stated
      7   basis for the objection. Notwithstanding, this isolated objection to the attorneys' fee award is

      8   ovenuled.
      9             G.         Based on the declarations of Class Counsel submitted in support of the Fee Motion,
     10   the Court finds that Class Counsel have incruTed out-of-pocket litigation expenses (paid and un-
     11   reimbursed, or currently due) in an amount more than $1.49 million, that said expenses were of a
     12   nature typically billed to fee-paying clients, and that said expenses were reasonable and necessmy
     13   to the prosecution of this action in light of the extent of proceedings both on and off the Court's
     14   docket, the complexity of the legal and factual issues in the case, the amount at stake in this
     15   litigation, and the vigorous efforts of counsel for all parties herein.         The Court finds these

    16    expenses are reasonable in this case.
     17             H.         The proposed division of awarded attorneys' fees among Class Counsel, as set forth
     18   in the Client Consent for Amendment to Co-Counsel Association and Fee Distribution Agreement,
     19   filed by Class Counsel in support of preliminary settlement approval as Exhibit 12 to the
    20    Declaration of Christopher D. Edgington, and as set forth by the declm·ations of Mr. Mattison and
    21    Mr. Ernst in support of final approval, is reasonable and is hereby approved. The attorneys' fees
    22    awarded by this Final Approval Order shall be divided among Class Counsel according to said

    23    approved division.
    24

    25    20.       Named Plaintiffs' Incentives. The hereby Court approves incentives for each of the
    26    Named Plaintiffs, Anthony J. Iorio, Ruth Scheffer, and Max Freifield, to be paid by Allianz at the
    27    time and in the manner provided in the Settlement. The amount of said incentive shall be the full
    28    unopposed amount provided for by the Settlement, to wit: twenty-five thousand dollars and no

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           cents ($25,000.00), for each Named Plaintiff. To the extent that any Named Plaintiff may become
      2    deceased prior to payment of these incentives, the Parties shall cooperate to ensme that any sums
      3    so awarded are distributed to his or her heirs.
      4              Based on the declarations of Class Counsel and the Named Plaintiffs submitted in support
      5    of final settlement approval, Named Plaintiffs have actively participated and assisted Class
      6    Counsel in this litigation for the substantial benefit of the Class despite facing significant personal
      7    limitations. Each has waived their right to pursue potential individual claims or relief in the
      8   Action. Apart from these incentives, the Named Plaintiffs will receive no settlement payments or
      9   benefits of any natme other than their share of the Settlement Relief available to the Class
     10   generally. These incentives are approved to compensate the Named Plaintiffs for the burdens of
     11   their active involvement in this litigation and their commitment and effort on behalf of the Class.
     12              The amount of these incentives shall not affect or reduce the Settlement Relief generally
     13   payable to any Class Member, including to Named Plaintiffs, under the Settlement, and shall not
     14   affect or reduce the amount of attomeys' fees and litigation expenses payable to Class Counsel
     15   under the Settlement and this Final Approval Order.
     16

     17   21.        Modification of Settlement Stipulation.      The Parties are hereby authorized, without
     18   needing finther approval from the Court, to agree to and adopt such amendments to, and
     19   modifications and expansions of, the Settlement Stipulation, if such changes are consistent with
    20    this Order and do not limit the rights of Class Members or any other Person entitled to Settlement
    21    Relief under this Agreement.
    22

    23    22.       Retention of Jurisdiction. The Court has jmisdietion to enter this Final Order. Without
    24    in any way affecting the finality of this Final Order or the Final Judgment, for the benefit of the
    25    Class and Allianz, and to protect this Comt's jmisdiction, the Court expressly retains continuing
    26    jmisdiction as to all matters relating to the Settlement, and the administration, consullllllation,
    27    enforcement, and interpretation of the Settlement Stipulation and of this Final Order, and for any
    28    other necessary and appropriate purpose.

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                     Without limiting the foregoing, the Court will retain continuing jurisdiction over all aspects
      2   of this case including but not limited to any modification, interpretation, administration,
      3   implementation, effectuation, and enforcement of the Settlement, the administration of the
      4   Settlement and Settlement Relief, including notices, payments, and benefits thereunder, the
      5   Settlement Notice and sufficiency thereof, any objection to the Settlement, any request for
      6   exclusion from the certified class, the adequacy of representation by Class Counsel and/or the
      7   Class Representatives, the amount of attomeys' fees and litigation expenses to be awarded Class
      8   Counsel, the amount of any incentives to be paid to the Class Representatives, any claim by any
      9   person or entity relating to the representation of the Class by Class Counsel, to enforce the release
     10   and injunction provisions of the Settlement and of this Order, any remand after appeal or denial of
     II   any appellate challenge, any collateral challenge made regarding any matter related to this
     12   litigation or this Settlement or the conduct of any party or counsel relating to this litigation or this
     13   Settlement, and all other issues related to this Action and Settlement.
     14              Further, without limiting the foregoing, the Court retains continuing jurisdiction to:
     15              A.         enforce the tenus and conditions of the Settlement Stipulation and resolve any
     16   disputes, claims or causes of action that, in whole or in patt, are related to or arise out of the
     17   Settlement Stipulation, this Final Order and Judgment (including, without limitation, determining
     18   whether a person is or is not a Class Member, and enforcing the permanent injunction that is a pmt
     19   of this Final Order and Judgment), and determining whether claims or causes of action allegedly
     20   related to this case are barred by this Final Order and Judgment;

     21              B.         enter such additional orders as may be necessary or appropriate to protect or
     22   effectuate this Final Order and Judgment, or to ensure the fair and orderly administration of the

     23   Settlement; and
     24              C.         enter any other necessary or appropriate orders to protect and effectuate the Court's
     25   retention of continuing jurisdiction; provided however, nothing in this paragraph is intended to
     26   restrict the ability of the Patties to exercise their rights under the Settlement Stipulation.

     27

     28   23.        No Admissions. This Final Order and the Settlement Stipulation, all provisions herein or
          therein, all other documents referred to herein Ol).)herein, any actions taken to carry out this Final

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          Order and Judgment and the Settlement, and any negotiations, statements, or proceedings relating
      2   to them in any shall not be construed as, offered as, received as, used as, or deemed to be evidence
      3   of any kind, including in this Action, any other action, or in any other judicial, administrative,
      4   regulatory, or other proceeding, except for pmposes of obtaining approval of the Settlement and
      5   the entry of judgment in the Action, enforcement or implementation of the Settlement, or to
      6   support any defense by Allianz based on principles of res judicata, collateral estoppel, release,
      7   waiver, good-faith settlement, judgment bar or reduction, full faith and credit, setoff, or any other
      8   theory of claim preclusion, issue preclusion, release, injunction, or similar defense or counterclaim
      9   to the extent allowed by law. Without limiting the foregoing, neither the Settlement Stipulation
     IO   nor any related negotiations, statements, mediation positions, notes, drafts, outlines, memoranda of
     II   understanding, or Comt filings or proceedings relating to the Settlement or Settlement approval,
     I2   shall be construed as, offered as, received as, used as, or deemed to be evidence or an admission or
     I3   concession by any person, including but not limited to, of any liability or wrongdoing whatsoever
     I4   on the patt of Allianz, to Plaintiffs, or the Class, or as a waiver by Allianz, of any applicable
     !5   defense, including without limitation any applicable statute of limitation.
     I6

     I7   24.       Dismissal of Action. This action, including all individual and Class claims resolved in it,
     I8   shall be dismissed on the merits and with prejudice, without an award of attomeys' fees or costs to

     !9   any patty except as provided in this Order.
     20

     21   25.       Mattison Law Firm Appointed as Co-Class Counsel.              The law firm of Emst and
     22   Mattison, previously appointed by this Comt as co-Class Counsel in the Action, has changed
     23   names to Ernst Law Group, and one of the class attomeys of record, Mr. Mattison, has fmmed a
     24   new firm, Mattison Law Group. Notice of the prior firm's name change, and association of the
     25   Mattison Law Firm in the Action, have been filed with the Court. Based on the Court's prior
     26   findings at the time of the certification of the Class, in support of the appointment of Mr. Mattison

     27   //

     28   //


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          and Ernst and Mattison as co-class counsel, the Court now hereby appoints the Mattison Law Firm
      2   as co-class counsel. Allianz has not objected to the appointment of the Mattison Law Film as co-

      3   class counsel.
     4

      5   26.       Pursuant to the Settlement, the proposed Fourth Amended Complaint, Exhibit A to the
      6   Settlement, previously served and filed as Plaintiffs' Exhibit 1 in support of final settlement
      7   approval, (Doc. No. 468-2, pp. 106-114), is deemed to be signed by Class Counsel and filed as of
      8   the date of this order, superseding any previous complaint in the Action.
      9

     10   IT IS SO ORDERED.
     11

     12   Dated: March 3, 2011
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                           EXHIBIT 6
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